Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 1 of 203 PageID #: 15651




                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF NEW YORK

                                 15-cr-637 (KAM)


                           UNITED STATES OF AMERICA

                                     -against-

                               MARTIN SHKRELI,

                                                 Defendant.


                         SENTENCING MEMORANDUM ON
                          BEHALF OF MARTIN SHKRELI



                                   APPENDIX



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Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 2 of 203 PageID #: 15652

                        United States v. Martin Shkreli
                         Docket No. 15 Cr. 637 (KAM)
                       Sentencing Memorandum Exhibits

  Exhibit 1                             Pashko Shkreli

  Exhibit 2                             Leonora Izerne

  Exhibit 3                             Mark Shkreli

  Exhibit 4                             Franky Guttman

  Exhibit 5                             Jordan Walker

  Exhibit 6                             David Zheng

  Exhibit 7

  Exhibit 8

  Exhibit 9

  Exhibit 10                            Dr. Horacio Plotkin

  Exhibit 11                            Defense Trial Exhibit 3419

  Exhibit 12                            Walter Drane

  Exhibit 13                            Dr. Adam Brockman

  Exhibit 14                            Ralph Holzmann

  Exhibit 15                            Curtis Fisher

  Exhibit 16                            Akeel Mithani

  Exhibit 17                            Catherine Chen

  Exhibit 18                            James Rodina

  Exhibit 19                            Megan Roberts

  Exhibit 20                            Kristen Lewis

  Exhibit 21                            Maureen Lohry

  Exhibit 22                            Ken Banta
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 3 of 203 PageID #: 15653

                        United States v. Martin Shkreli
                         Docket No. 15 Cr. 637 (KAM)
                       Sentencing Memorandum Exhibits

  Exhibit 23                            Tashdid Hasan

  Exhibit 24                            Gary Mohamed

  Exhibit 25                            Ryan Macy

  Exhibit 26                            Laura Castro

  Exhibit 27                            Sophia

  Exhibit 28

  Exhibit 29

  Exhibit 30                            Bloomberg Article

  Exhibit 31                            The Center Letter to Martin Shkreli

  Exhibit 32                            Shkreli Foundation Letter to Charley’s Fund

  Exhibit 33                            Shkreli Foundation Letter to Matt’s Promise

  Exhibit 34                            Christina Germano

  Exhibit 35                            Andrei Krassioukov

  Exhibit 36                            Shkreli Foundation Letter to UBC

  Exhibit 37                            Spinal Cord Injury Impairs Cardiovascular
                                        Capacity in Elite Wheelchair Rugby Athletes
  Exhibit 38                            Shkreli Foundation Letter to NYCC

  Exhibit 39                            Amber Emmertz

  Exhibit 40                            Hunter College Foundation

  Exhibit 41                            HCHS Report Expenditures of Shkreli Funds

  Exhibit 42                            Kenneth McCarthy

  Exhibit 43                            Yuan Wang

  Exhibit 44                            Lisa Whisnant
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 4 of 203 PageID #: 15654

                        United States v. Martin Shkreli
                         Docket No. 15 Cr. 637 (KAM)
                       Sentencing Memorandum Exhibits

  Exhibit 45                            Jennifer Kong

  Exhibit 46                            Kristan Ramirez

  Exhibit 47                            Lamark Mulligan

  Exhibit 48                            Patrick Sutherland

  Exhibit 49                            Martin Shkreli

  Exhibit 50                            Affidavit of Joel Sickler

  Exhibit 51                            Jackson Sadowski

  Exhibit 52                            Julie McConville

  Exhibit 53                            Lauren Payne

  Exhibit 54                            Taylor Reiners
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 5 of 203 PageID #: 15655




                               EXHIBIT 1
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 6 of 203 PageID #: 15656


Honorable Kiyo A. Matsumoto
United States District Judge
Eastern District of New York
United States Courthouse
225 Cadman Plaza East
Brooklyn, NY 11201

                                            Re: United States v. Martin Shkreli, 15 Cr. 637 (KAM)

Dear Judge Matsumoto,

                         In the beginning: Martin was born in the middle month of March, March is a
month of joy in simplest of things, a cool breez, flowers coming out, barren trees are being clothed with
leaves, birds and animals making noise in other words a new life, a new beginning, a new rebirth.
Since early age Martin's mind-set consisted of challenges, also in the beginning we were challenged
how to adjust to him by talking with him. I Pashko (Father) bought him a chess game and a guitar, and
I saw how quickly he learned how to play them. He started reading my news papers, he was interested
a little on sports, but immediately started reading on Stock Markets, and liked math. Soon I bought
Martin a computer, in which in the beginning is where he spent most of his time, and was very happy
checking what he liked most on stock market. The early years, we went to beach, went to see Mets and
Yankee games, and we took him to the old country where we his parents were born. Early years of
school, at times he was bored and frustrated, the school called and I had a teachers meeting on couple
occasions, after talking how he behaves at home and how he behaves at school we came to a realization
the extent of his abilities. The teachers placed him to a more challenging classes of english, math, and
science, after that he was skipped grades, and won many rewards, and chess trophies for P.S 197
In school Martin never caused any trouble, he got along well with students and teachers, he liked
basketball while playing he landed on his arm and fractured it.
At home, he got along well with his sisters and brother, at times he helped them with home work.There
were times when there was loud talking and Martin requested to be please keep at down.
Martin was excelling in math, and one Christmas for a gift , he asked me to buy him the book Alchemy
of Finance, which I did. When Martin was like 13 plus years old I the father gave Martin $2000,00 to
play stock markets. And did play under my name. Martin constantly read a lot of books, like
Shakespeare, Aristotle, Schopenhauer, and many other books. Martin, had friends with his easy going
attitude, and a sparkle of smile, and his magnet ability, no matter where he was, people were attracted
to him,Martin did not like to dress-up to go to church on Sundays. Couple times Martin and his brother
Mark played music in Manhattan clubs. Learning and being challenged for Martin is a joy. Martin use
to recite Shakespeare, Aristotle, and other literature, science, english, math. Martin liked and played
video games from an early age, and still like to play video games.
To enter Hunter High School, a test was designated for highly-gifted kids, which he passed that
difficult test, at that time over 2000 kids applied for that test only 100 students made it.How proud he
made me that day, and many times before, and after that, when he invited me to see his office and meet
Mr. Kramer Berkowitz and he told you have a smart son, later we were driven by a limousine to a
hotel at the hotel everyone was a middle age or older, Martin was a kid, I was so proud of him, business
people there from all over U. S. Martin commuted by bus from Brooklyn to Manhattan Hunter High
School daily hour an half each way. What I want to say is Martin worked hard to achieve what he has.
Than Martin went to work as intern for Kramer Berkowitz of Kramer and Kramer.On couple different
occasions Martin brought home his girl friends, we were happy about it, each time he brought home a
girl, we told Martin to get married and to settle down, his answer was sure pop, sure pop.Martin
worked very hard. I am so proud of him, he never got into trouble. Martin is supportive what others are
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 7 of 203 PageID #: 15657


interested, especially in dark times, he helped people in need and also through charities. Martin has a
quick understanding of how people think so different thought processes. He doesn't use an opportunity
to dump blame or criticism. Martin concepts (ideas) have been useful to those who may hold a diverse
set of beliefs, even though at times he is misunderstood and because people don't have an open mind,
or chose not to have an open mind of that he suffers some what. I don't know, maybe sometimes he
hovers at the edge of our awareness, and he will tell you the truth, and in truth lie much of our suffering.
To close, to us as Martin'.s parents he means everything to us, our pride and joy, our life, please give
him a new beginning, a better beginning of life, please give him a chance to make better for himself
and community. From the bottom of our hearts, we thank you, Honorable Judge Matsumoto.
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 8 of 203 PageID #: 15658




                               EXHIBIT 2
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 9 of 203 PageID #: 15659




  Honorable Kiyo A. Matsumoto
  United States District Judge
  Eastern District of New York
  United States Courthouse
  225 Cadman Plaza East
  Brooklyn, NY 11201




                           Re: United States v. Martin Shkreli, 15 Cr. 637 (KAM)


  Dear Judge Matsumoto,
         My name is Leonora Izerne and I am Martin Shkreli's older sister. We grew
  up together in Brooklyn with our younger siblings, and I helped my parents
  raise them. I have a BA degree in English, and have worked with Martin on and
  off since 2005. I worked in hybrid administrative, accounting and H.R. roles at
  Elea Capital, MSMB Capital, Retrophin and Turing Pharmaceuticals. I have been
  the Executive Director of The Shkreli Foundation since its inception in early
  2014.
        Your Honor, writing this letter has been a challenging task, feeling the
  weight of your perspective on his future, along with the potential publication of
  what should be private discourse.
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 10 of 203 PageID #: 15660




         It has been surreal, confusing and heartbreaking for our family, fearing
   for Martin's safety and health. The hardest parts are the unknown, regarding
   his charges and sentence, as well as the feeling of helplessness related to media
   coverage and public perception. In particular, I couldn't fathom how it was
   possible for someone who had worked non-stop his whole life to suddenly have
   that taken away from him; I struggled (and still do) to make sense of how he
   could be accused of these allegations after refusing to give up until he repaid
   investors. I was haunted by colleagues who had mostly seemed to be in his
   corner, then suddenly turned against him for their own greedy gain. Many of
   them were given opportunities, salaries and freedom that they would not have
   had elsewhere, at least not at that point in their careers. This side of the story
   didn't make the headlines, but it has been a sad theme for him, on account of
   his generosity and faith in others. The other strike against him was others' envy
   of his ability (and, at such a young age, no less). On many occasions, I heard
   others' criticisms and disbelief over his skills, yet they eagerly accepted all the
   perks and advantages of their employment or association with him, or his
   companies.
          Clearly, something went awry: he was suddenly the scapegoat for an
   entire industry, being pawned by the media, as though he were the sole creator
   and perpetrator of these rules and practices. Where were the investigative
   journalists, documenting the decades-long pricing trends of the lobby-riddled,
   skewed industry called pharmaceuticals? They didn't exist, or were swept under
   the mayhem caused by all the negative press. I can't imagine how that must
   have felt for him, as though however he tried to initially clarify his side, there
   were heaps of betrayal stacked against him at every turn. People he had known
   in situations he thought he understood were probably now a blur, and he likely
   just didn't know where to turn. He has never stated this directly and I can't
   speak for him, but I imagine that this staggering turn of events became harder
   to handle. While I am aware of his controversial or inappropriate remarks, he
   hasn't been the first or last to make them. Sometimes, even the most intelligent
   people don't make wise choices, especially in the face of adversity. Perhaps
   certain people turn to the wrong coping mechanism, with the wrong approach
   and outcome, only realizing their critical error after the fact. Social media can
   have this snowball effect, where the commentary and its consequences are
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 11 of 203 PageID #: 15661




   increasingly building up to a disastrous end. It had inadvertently all gone too
   far, and the anxiety and stress behind his predicament had reached its
   pinnacle: he probably couldn't even comprehend how misunderstood and
   mischaracterized he could become. Unfortunately, this ensued on a very public
   platform, regarding a very public figure. What I can say with absolute certainty,
   however, is that he meant no harm and has never intended such harm against
   another person. It's very unfortunate that so much about him has been
   misunderstood, misconstrued and mischaracterized, despite his many
   philanthropic deeds and dedication to helping patients and people in need.
          Since early childhood, Martin has continually demonstrated an enhanced
   propensity for all-things math and science. His comprehension and retention
   of, information is astounding. I remember that before the age of 6, he could
   quickly recall square roots, multiplication tables, the Periodic Table of Elements
   and do long division. He excelled in school and was supposed to skip years
   ahead twice in grammar school, but the teachers thought it was just too soon.
   He had an advanced understanding of biology, chemistry, physics, astronomy
   and statistics. He could review sports statistics and evaluate which players
   might break certain records, or who could win a championship. He always
   strove to learn as much as possible, expanding his breadth of knowledge on a
   variety of subjects. His main hobbies were chess, basketball, video games,
   playing guitar, listening to "underground" rock, rap music, and computer
   science/programming. He was always atypical in this way, probably fitting in
   more with likewise ambitious and intellectually-stimulated students, enjoying
   "brainiac" activities, as opposed to mainly recreational ones. In this way, I don't
   think I've ever known anyone who wastes less time than Martin, nor multitasks
   as effectively. He rarely takes vacations or does something leisurely (or, even
   takes breaks); for him, it's simply not as enjoyable and definitely not
   productive.
          By working with him for this long, I discovered the application of his
   business and science acumen. The pursuit of knowledge and sharing that with
   others are the hallmarks of his ambition; once he had learned the tenets of the
   stock market, I suppose he made it his mission to expand it to particular
   sectors. I have seen him "in action" among employees or in meetings with
   senior management, and astound everyone with his precise methods of
   collecting data and "walking encyclopedia-" knowledge. His physical and mental
   acuity and agility are remarkable, in that his brain seems to comprehend three
   steps ahead of everyone else. Doctors, scientists, senior executives, experts and
   consultants have all told me that they were shocked that Martin didn't have
   Master's or PhD degrees and is self-taught. It has been extraordinary to watch
   him grow his inklings of ideas about different market opportunities, diseases
   and drugs into full-fledged companies. Perhaps more noteworthy, he has always
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 12 of 203 PageID #: 15662




   taught/tutored relatives, friends, colleagues and employees around him; if he
   had had more time, he would have created additional workshops or seminar-
   type lessons to share his tips. He has exhibited that in many ways since,
   whether internally for his employees, or externally with online tutorials.
                Few people know him well enough with respect to his kind,
   compassionate, generous and sensitive side. He certainly has flaws and
   negatives like any human. Yet, I've witnessed him give people multiple chances,
   especially employees (who have always told me that he is more generous than
   most employers). I have discovered many new stories from people I did and did
   not know. There were stories of how he gave them a loan, bought them a
   computer, gave them a big tip or bonus, paid them in advance or shared his
   own research with them regarding medical conditions. There are many other
   stories that I don't know ... I believe Martin's certain enigmatic attributes might
   be interpreted as "awkward," or impatient, because he literally doesn't think or
   operate like the average person. This inadvertently causes misinterpreted
   signals or confusion from misunderstood exchanges, even amongst his closest
   friends and family.
          His combined academic excellence and phenomenal professional goals
   have always been tied to charitable endeavors and altruistic motivations. His
   donations were both personal and professional, causes that touched his heart,
   whether board members mentioned charities close to them, or strangers
   needed help. Once he heard about children in need, patients without
   medication, shelter animals or under-funded programs, he was genuinely eager
   to help. He had already provided donations to various charitable organizations
   befure ufficially launching The Shkreli Fuundatiun. Much to my delight, he
   asked me to run the Foundation on his behalf and begin with paying the
   doctor's bills for a pKAN patient's mother. Her daughter needed a wheelchair,
   monthly nutritional supplements and a new van for transportation for the
   many doctor's appointments. Since the Foundation's paperwork was not in
   order yet, Martin wrote a personal check to this woman. Later in the year, he
   suggested that we buy all of her daughters Christmas presents, which was for
   me a true pleasure, taking me to American Girl Place to purchase their dolls of
   choice. He also made grants or contributions to Paralympic athletes with SCI
   (Spinal Cord Injury), DMD, educational programs, scientific research.
         Later, we would face unfortunately misplaced backlash in the form of
   unspeakable comments on the social media pages of our grantees - of all
   things, a charity for abused children, another two for a rare, deadly childhood
   disease. It was utterly disappointing and disheartening to witness the general
   public show such misplaced, unabashed hatred for completely innocent groups,
   mostly children. Furthermore, it was shocking that they failed to acknowledge
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 13 of 203 PageID #: 15663




   the blatant irony of making claims against Martin or his funds, with complete
   disregard for these recipients' challenging circumstances. Instead of positive
   remarks or articles about helping these organizations or raising awareness
   about those causes - which was the entire purpose - it somehow became all
   about him. On the morning of Martin's arrest, I happened to be preparing for a
   meeting with a charity in Washington, DC and was informed by email that the
   meeting had to be cancelled. With a few phone calls, internet searches and click
   of the television, I was informed of the shocking, grim news of Martin's arrest. I
   felt so guilty for not being home in NY with him, even though we were
   preparing for more charitable grants. I felt afraid for him and my family and
   had no idea what was going on until I returned home a few days later. The
   media storm that ensued included unwelcome requests for interviews and visits
   to our homes. Once again, it had a negative impact with some sponsors or
   parties related to our grantees backing out of the association, or requesting
   removal of our name. We immediately obliged, fully respecting and
   understanding the unfair treatment heaped upon them. As a matter of fact,
   everyone that had been a grantee of the Foundation or recipient of his
   philanthropy expressed their gratitude for his generosity, as well as sympathy
   for his circumstances, wishing him the best. The only things stopping
   additional grantees and recipients from writing their support letters were either
   HIPAA laws protecting their patient-privacy rights OR the terrible, unjust media
   backlash received by these groups via letters or social media comments. If it
   were not for that reaction, they would have written letters, too. They all
   supported Martin, vouching for the impact his donations made, as well as his
   undeniable compassion for these recipients and their respective causes.
          Martin has certainly had lofty ambitions and behemoth undertakings
   since his late teens, with an endeavor to create and grow a series of different
   companies. Since he is so introverted about these experiences, he hasn't
   admitted it, but there was a tremendous amount of stress and pressure on his
   shoulders. Of course, this was amplified when he not only lost the company
   that he founded, but also when the media took the opportunity to malign his
   image. It has been undoubtedly painful (certainly for his loved ones), to witness
   false accusations and accounts, particularly because certain claims were tied to
   common industry practices. While that doesn't make certain actions
   permissible, the media did not accurately portray the way particular industries
   work. It's possible that Martin was incredibly overwhelmed by his case, the loss
   of his company and this negative attention probably caused him to lose his
   usual focus and clarity. I think this might have exacerbated any stress-related
   anxiety, resulting in some misguided, inappropriate errors. It's hard to explain,
   but I don't believe anything was intentional, nor does it represent Martin's true
   character. The Martin I know tutored me in math, convinced our mother to join
   him in my first concert, (extremely quickly) typed my essays for me when I was
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 14 of 203 PageID #: 15664




   sick, bought me my first cell phone, asked me to work with him and been a
   wonderful brother. Unfortunately, I believe that this has become a common
   pitfall of social media, wherein misunderstood or misjudged posts can instantly
   change any person's reputation. I'm sure that Martin has been aware of this and
   using much of his time for self-reflection. Ultimately, I know that he absolutely
   intends to use his talents to make impactful changes, continuing paths to
   research, education, innovation, and philanthropy. We were in the middle of
   drafting at least three grants for autism, pKAN studies, and psychiatric
   research. Since all of these aforementioned endeavors have been practically
   halted by his circumstances, I respectfully plea for the most lenient sentence
   deemed appropriate. Thank you very much for your time and consideration.



                                                                 Sincerely,
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 15 of 203 PageID #: 15665




                               EXHIBIT 3
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 16 of 203 PageID #: 15666


Honorable Kiyo A. Matsumoto
United States District Judge
Eastern District of New York
United States Courthouse
225 Cadman Plaza East
Brooklyn, NY 11201

                                             Re: United States v. Martin Shkreli, 15 Cr. 637 (KAM)

Dear Judge Matsumoto,

       My name is Mark Shkreli. I am Martin Shkreli's brother. I am 30 years old. I live in
                     I currently am unemployed. I attended Borough of Manhattan Community
College for about a year and a half.

       I believe that my brother, Martin Shkreli, is a wonderful person who is misunderstood because
he has been unfairly portrayed by the media as a villain. The Martin Shkreli who I know is an
incredibly intelligent, hard worker, who is also very giving and kind. If the public and media knew the
Martin Shkreli who I know, he would be thought of as a very different person.

       Growing up I always wanted to be like Martin and that hasn't changed much. From the time that
he was accepted to one of the most academically challenging and rigorous schools in New York City to
the time that he started working at a top hedge fund at a young age, he has been an inspiration and a
guide. Martin can nearly always be found hard at work, always finding or making the time to read
medical journals and scientific studies. Even when we would go out to concerts or live events he would
seem to get lost in his medical journal, sometimes unaware of the event.

       I remember years before Martin was ever known taking a trip with him to Miami, Florida. At
the time I was only thinking about going to Wrestlemania, which is professional wrestling's biggest
event of the year. We were both very excited to go to our first Wrestlemania together. I did not know
that Martin would be meeting with a doctor to have a discussion about pharmaceuticals and the
pharmaceutical industry. While I have always known that Martin is extremely smart, I was honestly
blown away by Martin when he started talking to this doctor. Martin clearly understood what this
doctor was saying and was able to hold his own in the conversation. Even the doctor was impressed by
Martin's knowledge of pharmaceuticals. Martin is misunderstood because I almost feel like Martin is
sometimes playing a character as wrestlers do, but at the same time Martin is an immensely gifted,
intense individual, who is very dedicated to discovering new drugs and treatments for rare diseases.

         I think that my brother may have been caught off guard by all of the negative media attention
surrounding the raising of the price of the drug Daraprim. It was not just another story, it became
headline news. He was harshly criticized online on social media, in person, through phone calls, and
mail. Not only was the decision to raise the price of Daraprim scrutinized, but Martin became the face
associated with pharmaceutical companies and price increases. Shortly after he raised the price of
Daraprim he was arrested and put in the spotlight again. I think that being in the spotlight for raising
the price of Daraprim, and then being arrested, Martin may have made some mistakes as he was never
in a situation like this before. But who wouldn't make mistakes if they were young, wealthy, and
successful, and suddenly had their life put under a microscope?

       Martin Shkreli is a unique guy. He is a young, brilliant, wealthy man who wants to leave his
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 17 of 203 PageID #: 15667


mark on the world by discovering and creating drugs and treatments for rare diseases. I think Martin
may be difficult to understand simply because there really is no one else like him. He was focused on
creating drugs and then thrust into the spotlight because he raised the price of a drug. Maybe he
responded inappropriately at times to the media and the attention he received. But I think that Martin
has learned from everything that he has gone through over the past two years. I expect Martin to show a
much more humble and reserved side of himself, that I am familiar with, when he is free.

        I can't help but think about all of the patients he has helped and will continue to help, or even
save, because of his dedication to finding treatments for these rare diseases that are overlooked by
many pharmaceutical companies. I believe Martin has unlimited potential and will use all of his gifts to
really make the world a better place. I think that over time Martin will no longer be known as the guy
who raised the price of a drug, but rather as someone who has truly made a very positive impact on
society.


                                                                                  Sincerely,
                                                                                  Mark Shkreli
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 18 of 203 PageID #: 15668




                               EXHIBIT 4
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 19 of 203 PageID #: 15669
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 20 of 203 PageID #: 15670
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 21 of 203 PageID #: 15671




                               EXHIBIT 5
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 22 of 203 PageID #: 15672




                                                                             Jordan Walker


                                                                                     (



      November 2, 2017

      Your Honor,

      I wanted to add my voice to what I can only imagine is a growing chorus of fans, friends,
      and supporters of Martin Shkreli. While not a man without faults, I hope anyone who
      peers under the surface would see that Martin is gifted, passionate and has the potential
      to contribute improvements to society at great scale. My only hope with this letter is that
      you might consider granting Martin some leniency with his sentencing so that he can
      continue his work in entrepreneurship, teaching, and helping people.

      I met Martin 16 years ago during our college years, and while I had very little interest in
      stocks & business at the time, we bonded over our love of music and the internet. I knew
      back then that he was unique - with a thoughtfulness, wit and emotional honesty I had
      seen in few others. He kept a blog in 2001 before “blogging” was a thing - a public diary
      on a website called Live Journal where he mused openly about his interests, anxieties,
      philosophical beliefs, and relationships. He was an open book, true to himself, raw and
      impossible to label back then, as he is today. He marched to the beat of his own
      drummer; apologies for the cliche.

      We had lost touch through the years, however in 2014 I was re-introduced to Martin after
      I launched my startup called Kindly. Our product is an app and website that provides an
      emotional support platform for young people with anxiety, depression, and certain mental
      illness, with the help they need (professional counselors, trained volunteers, and a
      community of peers). The moment he heard the pitch, Martin offered to become my first
      investor.
              Martin was immediately moved by Kindly’s mission and the possibilities of helping
      so many people through the very devices that are in their pockets. I am very grateful for
      Martin, and we have in fact actually saved lives through Kindly’s product by providing a
      positive community and funneling high risk individuals over to crisis/suicide hotlines
      giving them the help they need before it’s too late.

      I have witnessed other examples of Martin’s generosity. He once offered to pay for my
      girlfriend’s CT Scan when she got a concussion and had lost her insurance. I’ve heard
      similar stories of Martin helping others with their health issues, not to mention significant
      donations to numerous charities, including a very significant one to his old high school. I
      imagine it’s extremely rare to find other self-made wealthy young people who have given
      as much as Martin has.
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 23 of 203 PageID #: 15673




      Many things come to mind when I think of Martin. Ill intentioned criminal is not one of
      them. It pains me to think of him in a jail cell, when I know in my heart he belongs in a
      lab or workspace where he can continue with his inventions and spend time with his
      colleagues and students.

      I do consider Martin to be a teacher - a selfless one at that. As I’m sure you are well
      aware, in the past couple years Martin was often devoting several hours a day (and well
      into the night) on the internet teaching finance, science, and computer programing to
      thousands of tuned-in protoges. I have seen him open young peoples’ eyes to new ideas
      and the many possibilities and opportunities that come to those with the discipline and
      curiosity to learn. He would occasionally lecture at universities as well. As with his charity,
      I think you would be hard pressed to find another person of means who has dedicated as
      much time as Martin has to helping young people improve their lives with no tangible
      gain for himself. I imagine this passion for helping others must have emerged from
      growing up in a working class immigrant family that had to work extra hard to survive.

      I’m well aware that Martin has made mistakes in his time, and some of his actions have
      been controversial and offensive, however I believe Martin is largely misunderstood. I
      know he is well intentioned and exceedingly selfless. I hope that you’ll at least consider
      these thoughts during Martin’s sentencing. Thank you for reading!



      Sincerely yours,



      Jordan Walker
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 24 of 203 PageID #: 15674




                               EXHIBIT 6
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 25 of 203 PageID #: 15675




                                                                       Honorable Kiyo A. Matsumoto
                                                                         United States District Judge
                                                                         Eastern District of New York
                                                                           United States Courthouse
                                                                              225 Cadman Plaza East
                                                                          Brooklyn, New York 11201

   Dear Judge Matsumoto,

   My name is David Zheng. I am a software engineer at a small firm based in              ,a
   graduate of New York University, and a friend of Martin Shkreli. Today I am writing to humbly
   ask for leniency with regard to his sentencing.

   I have known Martin for over 20 years, as we attended the same high school starting in 1996:
   Hunter College High School, on the Upper East Side of Manhattan. We shared a group of
   friends that remains close to this day and I believe I speak for both of us when I say that high
   school was a watershed period in our lives that we recall fondly. Sadly, Martin was not able to
   complete his time at Hunter and entered a program called City-As-School, while I and the rest
   of our friends went off to college. After college, I briefly worked together with Martin at Elea
   Capital on a daily basis during which time I was able to closely observe his character and
   evolution since high school. I eventually moved on to other firms (and industries) and had
   much less contact with him, though we did still always keep in touch to some extent.

   Martin is a highly intelligent and capable person that can still make a strong positive impact on
   this world. He has demonstrated a particular passion and dedication toward the cause of
   treating rare diseases (particularly those that affect children, such as Duchenne muscular
   dystrophy). If he continues to apply himself, I really think that he can do a lot of good – and this
   is indeed an underserved area that needs attention.

   Martin has always made a special effort to take care of his friends and family, especially his
   siblings. I have seen first-hand his diligent efforts to support and nurture his sisters and brother
   both financially and emotionally. Additionally, he made an extremely charitable donation to
   our high school – sorely needed funds for a publicly funded school that enrolls
   disproportionately poor children yet sends almost all of its graduates to top college and
   universities.

   It is my hope that you will take into account Martin’s demonstrated positive qualities, as well as
   his potential future contributions, and mercifully regard the misguided and foolish mistakes of
   his past. Thank you for your time.

                                                                                            Sincerely,
                                                                                          David Zheng
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 26 of 203 PageID #: 15676




                               EXHIBIT 7
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 27 of 203 PageID #: 15677



   l




   26 October, 2017

   Honorable Judge Kiyo Matsumoto
   United States District Judge
   Eastern District of New York
   225 Cadman Plaza East
   Brooklyn, NY 11201

   RE: United States V. Martin Shkreli
   15-cr-00637


   Dear Judge Matsumoto:

   I am writing on behalf of Martin Shkreli who is appearing before your court on January 16, 2018.

   My name is P          Hi       and I have been a friend of Martin for a little over 2 years. In that
   time, i have come to see that he is one of the most dedicated advocates for an important
   community of people very few talk about, rare disease patients.
                                                   it is my hope to portray the impact Martin has had
   on our lives. I met martin by chance during an online forum while learning of a drug in the
   research and development phase specifically designed to treat                             I knew
   nothing of Martin prior to this first conversation as it turned out the company creating this drug,
   Turing Pharma, was his very own company.
             ,admittedly, unprepared for the relationship that would come from that initial
   conversation given many of us in the Rare Disease community often feel we are not seen or
   heard by those in the Pharmaceutical Industry. Martin has been, without question, an invaluable
   resource to both myself and several other members of this community. Very quickly after we
   met, Martin and I began texting daily, more often than not it was him asking how I was doing, if I
   needed anything or what my current medical testing was showing. At the time I was, for the
   most part, unaware of the charges or legal trouble he was facing.

   Being inquisitive, I quickly became aware of the legal issues surrounding Martins arrest. I was
   impressed he never allowed those issues to interrupt or interfere with his focus on rare disease
   patients. His relentless pursuit for the wellbeing of said patents and cures for diseases many
   companies won't spend time on is something that cannot be replaced. As time continued, I did
   notice a drastic change in Martin’s interactions online. In the age of social media, the attention
   one gets is often intoxicating. I honestly believe he got caught up in a world he didn’t fully
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 28 of 203 PageID #: 15678



   understand the scope of or know how to get out of. I make no excuses for his behavior and, in
   fact, neither does he. We have continued to correspond while he has been incarcerated and I
   can say without reservation, Martin has come full circle from when I first met him. The kind,
   compassionate person with a relentless drive to help the rare disease community is who I see
   again in these letters. At the end of the day he acknowledges the poor choices he has made
   and that his actions have benefited no-one, especially those he initially sought to help. The
   qualities in him that are invaluable to the medical community, particularly terminal patients, are
   redeemable. It has been very difficult watching him make and learn from his mistakes, coming
   full circle in a situation that was sure to end negatively. He is paying the price, as we speak, for
   allowing his public image/persona to impact his personal life and real world legal issues.

   I realize, as does Martin, he is accountable to both the court and society for his actions. That
   being acknowledged, there is a real threat to the rare disease community, and its potential for
   new discovery, with a prolonged incarceration at sentencing. His currently pending and owned
   patents are advances and cures waiting to be brought to market and we as patients waiting for
   those cures have felt his absence almost immediately. It’s simply not profitable for large
   companies to concentrate on a small piece of the population and Martin has been the long
   needed voice for those of us it is “less than profitable to help”. He has worked, often around the
   clock, to help find cures for more than one disease. In our community, his mind and his drive
   are invaluable.

   I say these things with the utmost respect for both the judicial process and the subsequent jury
   decision. I know there is accountability for our actions everyday. Martin made poor choices and
   was found guilty by a jury of his peers. That is not what we are questioning at this stage. Now
   the question is how long does he need to reflect and learn from his mistakes to qualify as
   “justice served”. One thing I can tell you from the opinion of a “regular citizen” would be one of, if
   not the main goals of incarceration should be redemption and rehabilitation to enable our
   inmates to rejoin society and contribute to our community. This is why we have programs within
   our jails to help inmates learn and grow as people. While there are courses available for
   advancement in education as well as vocational programs to allow inmates to leave with a
   skill/trade, the level and type of work Martin does cannot be replicated in a jail like setting. There
   are no programs available within our judicial system that would allow him to continue making
   huge advancements and discoveries that end up saving lives or greatly increasing the quality of
   life for patients. I am not saying that he should be let go without consequence ,however, there is
   a question as to how long is long enough without taking away the possibility of a better
   tomorrow, not only for Martin, but for society as a whole. Many people have different definitions
   as to what justice means. Martin will have served approximately 6 months at the time of his
   sentencing, you have the power to sentence him to much more. How much longer is needed to
   serve for justice to be met? That is a tough question and one I am glad it is not my responsibility
   to determine. Redemption comes in many forms and, for me, Martin is absolutely capable of
   letting go of the public image he has held onto and is already returning to who he was when I
   first met him.

   Before you is a very difficult decision none of us could imagine having to render. I also realize
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 29 of 203 PageID #: 15679



   there are many factors you must consider. It is my hope, however, that you see and hear us.
   The patients needing the cures and formulas locked in his head as well as the family members
   of those individuals hoping for just one more good day with their loved one consider time to be a
   luxury
                                                                              prolonged
   incarceration would directly impact hundreds of lives dependent on the information and
   resources Martin brings to light. The mistakes and poor choices made by Martin Shkreli do not
   define who he is; his relentless quest to help as many patients as he can does.

   Thank you for your time and consideration.

   Sincerely,
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 30 of 203 PageID #: 15680




                               EXHIBIT 8
 Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 31 of 203 PageID #: 15681




December 20, 2017

Honorable Kiyo A. Matsumoto
United States District Judge
Eastern District of New York
United States Courthouse
225 Cadman Plaza East
Brooklyn, New York 11201

Re: United Stat es v. Martin Shkreli, 15 Cr. 637 (KAM)

Dear Judge Matsumoto,

My name is                   and J live in               J am married and have three children ages 19, 17 and
14. I grew up in a town of 180 people in rural              and have a Bachelor's Degree in Business
Administration. I work remotely as Sales Manager for National Information Solutions Cooperative, a software
company providing accounting, engineering and mapping software to over 800 telecommunications and utility
cooperatives in rural America.

I met Mr. Shkreli in March of 2014. I reached out to him via twitter regarding RE-024, a drug that was in
development with Retrophin,
                               Pantothenate kinase-associated neurodegeneration (PKAN), a degenerative
disease of the brain that can lead to parkinsonism, dystonia, dementia, and ultimately death.
           Dr. Michael Kruer, had filed a Physician Investigational New Drug (IND) trial to the Food and Drug
Administration (FDA)                         The IND was denied. Dr. Kruer then filed an Emergency IND trial to
the FDA, which was also denied.         had discussed lobbying the Senate sub-committee overseeing the
FDA to urge Commissioner Hamburg, then seated as the head of the FDA, to overturn the decision.

My tweet to Martin,                                                                                         was
answered within the hour. Martin informed me that he was the developer of the drug. We conversed via email
and eventually by phone over the weekend. I requested an in-person meeting at the Retrophin office in New
York City, which he happily agreed to. The following Thursday,          flew to New York and met with
Martin, Tom Fernandez (Vice President of Patient Advocacy at Retrophin) and others from the executive team.
The team spent over two hours with us, discussing the research being done on animals with PKAN treated with
RE-024




                                                             I traveled to Washington, DC to meet with the staff
of several Senators regarding the denied IND trials. We also met with four individuals at FDA, including Dr. Ali
Mohamadi, Medical Officer Team Lead. Through-out our meetings, Martin and his team offered the expertise on
lobbying for investigational trials and provided information about RE-024.

While we weren't able to reverse the decision by the FDA, Martin and his team continued to work on their
efforts to receive approval for treatment of PKAN with RE-024, eventually treating an individual in Cypress that
fall. When Retrophin received approval to treat in Cyprus, Martin reached out to me
 Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 32 of 203 PageID #: 15682




Unfortunately, FDA approval didn't come until much later, which was only for Phase 1 of the trial and included
treatment of healthy subjects only. In the meantime, Martin was no longer employed with Retrophin and
communications with the company became very difficult.

                                                             Yet, Martin continued to stay in touch, offering
support in any way he could.

The last conversation I had with Martin was in June of 2017. A friend of mine asked me to reach out to a family
who had been denied a drug for their four-year-old son who was suffering with a terminal cancer. I did some
research on the drug and spoke to the mother. My next step was to reach out to Martin to get his insight on this
specific drug. He took the time to research the drug and provide his insight on how the family might be able to
request approval for treatment. Once again offering his sympathy to the situation.


Over the past several years, I was fortunate to have many conversations with Martin and looked forward to each
of them.                                                                                                 He
has reached out to me over the years to see how they are dOing, each time expressing concern and sadness that
their conditions have worsened. I've never encountered the kind of person that the media has made him out to
be. The person I worked with was kind, compassionate, engaged and always willing to help.

Living in rural              my entire life, I haven't encountered many people like Martin Shkreli. It can be
intimidating to sit down in mid-town Manhattan with the CEO of a drug company, asking for help. But after the
first meeting, any unsettling feelings were lost. I often say that everyone we meet in life plays a part in our story.
I feel fortunate that Martin Shkreli has been part of my story and that of                    and I will always be
thankful for him.

Martin showed up for us when we needed him and continued to do so. While he, like everyone else in this
world, may have shortcomings he has also been a blessing to many. He provided us hope when we needed it
most and still does in his continued fight to help children with rare diseases. With his impending sentencing, I
ask that you consider the most lenient sentence the court would deem appropriate under the law. Martin
Shkreli can help people. I've seen him help people. The best thing for society would be to see him working again.
The longer he is incarcerated, the less chance someone suffering from a rare disease is going to get the much-
needed help they need.
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 33 of 203 PageID #: 15683




                               EXHIBIT 9
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 34 of 203 PageID #: 15684




   12/20/17


   Judge Matsumoto
   United States District Judge
   Eastern District of New York
   225 Cadman Plaza East
   Brooklyn, New York 11201


   Dear Judge Matsumoto:

   My name is                 and am the mom of                          My husband,              and I
   live in        on a farm raising our kids and livestock. Our family was struck with devastating
   news 6 years ago with the diagnosis of PKAN                            PKAN is a rare genetical
   deadly disease that affects few in the world. They tell us         are one in a million! Over the
   years                               have often been referred to as                       .

   After the diagnosis of           we were on a mission to find anything that would help             as
   there was no treatment or cure            . With the help of a friend, we found out about a new
   possible drug RE-024 that was being developed by Martin and his company, Retophin. Being bold
   we reached out to him to ask about it and he responded back quickly. At that time, we developed a
   friendship with Martin and he genuinely wanted to help               He invited my friend and I to New
   York to visit with him and his staff. He was able to put a face to someone that had the disease he
   was working so feverishly to develop the cure for. I feel this was his way to so called get in the
   trenches with a family that was struggling to find hope for a long future

   He saw a fight in us to help            and he had a fight about him. He was developing the drug RE-
   024 (possible cure for PKAN) and being a researcher, he had a connection to the patient and he
   truly felt the pain             were going thru, he is a person who showed empathy. He began to
   push thru more testing to get this drug ready for a trial and approved by the FDA. At one point he
   decided to proceed with an extremely costly test the FDA was requiring, and I believe he did
   because he saw the decline                 in a video. Martin was trying many ways to get this
   medicine to             even willing to send them overseas to have a trial there. Our family was
   beginning to plan for an extended time in another country and then those plans ended abruptly.
   Martin was let go from Retrophin and then life changed in a quick hurry. We no longer had an
   advocate for             and we became just another statistic with PKAN. You could say Martin
   treated us like we were family and he really wanted to help                . To this day, we still are
   not able to get RE-024 for              Retrophin tried to make promises to us that           would be
   the first to try the medicine in the US, but that has not happened. Retrophin has taken RE-024 into
   a trial but in adult patients only. If Martin would have been there,           would have had the
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 35 of 203 PageID #: 15685

   Judge Matsumoto
   12/20/17
   Page 2

   medicine and been on the road to recovery. I tell you this story because, the Martin I know would
   go to great lengths to make a difference in persons life.

   When Martin sees something broken he feels like he can fix it, he saw that determination in us too.
   The FDA requires very strict regulations, I very much appreciate this except when you have a loved
   one battling an illness that continues to decline in health and you cannot get a medicine approved
   or the process for an emergency IND takes many hours to complete. Martin knew there needed to
   be a change and it would take lots of time. We knew we could help with that change. We worked
   and lobbied in our state of        and helped pass the Right to Try bill. Many other states also did pass
   the same bill. Because of that, the FDA started to loosen up some of those extensive regulations,
   especially the time it takes doctors to submit an IND. Currently the movement has continued and
   there is a Right to Try bill sitting in Washington DC going thru the House and Senate for approval.
   The reason I tell you this story is because he is so passionate about getting medicine to patients, so
   they can live a better life without having to go thru all the red tape.

   Often, Martin has been misunderstood but when a person gets to know him he really is a kind,
   caring and true hearted person. What kind of person still reaches out to someone to just see how
   the family is doing and if we need anything, I can say a person who cares and wants the best, that is
   Martin. He is unique in many ways, quite frankly he is on the level of genius in his knowledge and
   ideas, he can and will do good in this world. I believe he wants to fix things that are broken and in
   many ways, that has been the part that has hurt him. Please consider Martin and his true self and
   good he can do when given the chance.




   Re: United States v. Martin Shkreli, 15 Cr. 637 (KAM)
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 36 of 203 PageID #: 15686




                              EXHIBIT 10
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 37 of 203 PageID #: 15687




    Honorable Kiyo A. Matsumoto
        United States District Judge
        Eastern District of New York
        United States Courthouse
        225 Cadman Plaza East
        Brooklyn, New York 11201

                                    Re: United States v. Martin Shkreli, 15 Cr. 637 (KAM)


  Arlington, MA, Jan 19 2018

  Dear Judge Matsumoto:


  Please allow me to introduce myself. My name is Horacio Plotkin, and I was Retrophin' s Chief Medical
  Officer for three years, reporting to Martin Shkreli. I am a pediatrician. I don't have an MBA, and I don't
  understand the stock market. I just care for people with rare diseases. I've practiced for 20 years caring
  for patients with rare diseases, and after that worked for 10 years (so far) in biotechnology companies
  developing treatments for patients with rare diseases. I started working at Retrophin in May 2013, when
  there were about 8 employees in the company, and started the Research and Development Department
  from my kitchen, building up a team of about 40 people. I will not comment on the matters that brought
  Martin to court, but would like to have a chance to tell you about sides of Martin that were not
  discussed in the trial, as far as I know.

  You probably do not know it, but you heard about me during the trial. Stephen Aselage mentioned that
  Martin shouted at an officer during a board meeting. I was that officer. For the record, Martin did not
  shout at me. He did blame me for some missed deadlines, maybe not in the best tone, but I have seen
  much worst in boardrooms. Working for somebody as passionate a Martin has its challenges, but they
  need to be seen in the light of the final goal. As a reference, with very few exceptions, no employees of
  Retrophin resign during Martin's tenure. We were all working towards a common goal.

  What probably did not come up in the trial, was that Martin is a very generous person. When Martin
  learned about a baby in Venezuela that needed a medication for his congenital liver disease (which he
  needed to take awaiting for a liver transplant) that was not available in that country, he immediately
  contacted Tom Fernandez (head of patient advocacy at Retrophin) and me to try to help the baby . We
  quickly got in touch with his treating physician in Venezuela, and put her in touch with a pediatric GI
  specialist in Boston, who happened to be from Venezuela also and knew her well. He agreed to write a
  prescription for the baby, and I personally bought the medication from a local pharmacy, enough
  medication to cover one years' treatment. We shipped the medication and got a beautiful thank you
  letter from the father of the baby.

  In another occasion, I called Martin to tell him about a little girl in Boston, who was bl ind and autistic.
  There is a special school for children with those conditions, that is very expensive. I told Martin that the
  family could not afford the tuition. Without hesitation, he responded that he was going to pay for it. The
  family ended up not accepting Martin's offer, as they considered that it was too much money.
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 38 of 203 PageID #: 15688




  Yet another example of Martin's generosity involves a little girl with PKAN, a terrible metabolic disease,
  who was the daughter of an undocumented woman from Central America that came to the US to try to
  give her daughter a better chance. She had no medical insurance, and the girl needed a wheel chair. Not
  only Martin donated the money to get he girl a wheelchair, he also gave the family extra money to help
  them .

  Martin's generosity is not known by many people. On the other hand his insight in the world of science
  is agreed upo n many scientists and clinicians. He had no formal science education or training, and
  maybe in part because of that, he was able to think out of the box and repurpose a drug that was
  developed for hypertension, for the treatment of a rare kidney disease called FSGS. Retrophin run a
  clinical study demonstrating that Martin idea that the drug could potentially help those patients was
  right. Martin also developed the initial concept for a treatment of another devastating disease, called
  PKAN. Patients with PKAN cannot use vitamin B5 because they lack an enzyme that puts the vitamin in a
  pathway that ends up in production of energy by the cells. Martin thought of a simple solution for the
  problem, and three patients that had the disease and were unable to walk, started doing so days after
  starting treatment. I was in Cyprus when the first patient started the treatment. He was in a wheel chair,
  and within days he started to walk. Last time I've heard from the family, he continued to make progress
  and was able to walk independently for a progressive amount of time each day. Retrophin is now about
  to run a clinical study to confirm those results.

  Again, the intent of this letter is not to comment on the events that brought Martin to your courtroom.
  But just to add some information about him that may not be widely known, and suggests, in my humble
  opinion, that Martin has a lot to give our society, and in particular patients suffering with rare diseases.
  He is far from perfect, and I would even say that some of his actions are hard to explain or justify. I
  personally hope that he learned a big lesson, and that he will change many of his actions and focus on
  helping develop science and treatments for people in need.

  Thank you for taking the time to read this letter.

  Sincerely




  Horacio Plotkin, MD, FAAP
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 39 of 203 PageID #: 15689




                              EXHIBIT 11
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 40 of 203 PageID #: 15690
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 41 of 203 PageID #: 15691
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 42 of 203 PageID #: 15692
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 43 of 203 PageID #: 15693
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 44 of 203 PageID #: 15694
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 45 of 203 PageID #: 15695
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 46 of 203 PageID #: 15696
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 47 of 203 PageID #: 15697
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 48 of 203 PageID #: 15698
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 49 of 203 PageID #: 15699
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 50 of 203 PageID #: 15700
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 51 of 203 PageID #: 15701
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 52 of 203 PageID #: 15702
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 53 of 203 PageID #: 15703
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 54 of 203 PageID #: 15704
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 55 of 203 PageID #: 15705
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 56 of 203 PageID #: 15706
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 57 of 203 PageID #: 15707
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 58 of 203 PageID #: 15708
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 59 of 203 PageID #: 15709
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 60 of 203 PageID #: 15710
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 61 of 203 PageID #: 15711
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 62 of 203 PageID #: 15712
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 63 of 203 PageID #: 15713
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 64 of 203 PageID #: 15714
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 65 of 203 PageID #: 15715
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 66 of 203 PageID #: 15716
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 67 of 203 PageID #: 15717
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 68 of 203 PageID #: 15718
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 69 of 203 PageID #: 15719
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 70 of 203 PageID #: 15720
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 71 of 203 PageID #: 15721
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 72 of 203 PageID #: 15722
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 73 of 203 PageID #: 15723




                              EXHIBIT 12
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 74 of 203 PageID #: 15724



          Walter Gordon Drane.



 The Honorable Judge Kiyo A. Matsumoto
 United States District Court for the Eastern District of New York
 225 Cadman Plaza East, Room S905
 Brooklyn, New York 11201

 November 22, 2017

 Dear Judge Matsumoto,

         I am writing to humbly appeal for your consideration for leniency when sentencing my ex-boss,
 Martin Shkreli. In all that you have learned about Martin at trial, or has been reported about him, and in all
 that Martin has done to further a public persona, I believe what has been lost, is any portrayal of the Martin
 I know; a man with an altruistic passion and unwavering commitment to the discovery of treatments for
 rare diseases. I respectfully ask that this letter be included in your deliberation.

           I began working for Martin's pharmaceutical company in 2015. I was traveling to training when the
 story broke of our product's price increase and seemingly overnight Martin became the media's poster boy
 for all that was wrong with the entire pharmaceutical industry. Martin addressed us to explain the
 rationale of his price-hiking action and to set the vision for his new company. That first speech was intense,
 albeit impressive. Martin is not an immediately likeable fellow. He went on for over an hour about several
 obscure disorders he had researched, and demonstrated his command of complex areas of science. He
 reminded me of a slightly mad genius whose grandiose ideas to tackle multiple rare diseases could either
 be the product of an inflated ego run amok or a brilliant visionary.

        I approached Martin later that evening and discovered he was singularly interested in learning what
 drove me. During our conversation I revealed that, in addition to cancer, my father had suffered from odd,
 unexplained neurologic behavior prior to his passing. Martin asked me about my personal struggle and the
 frustration my family experienced resulting from my father's deteriorating health. Martin reiterated his
 vision for building a company dedicated to alleviating the burden of devastating conditions like my father's;
 diseases that large pharmaceutical .companies overlooked or did not deem important enough to find a cure.
 What he failed to tell me, and I later found out on my own, was the very personal fact that Martin's brother
 also suffered from a debilitating illness. Martin's strengths are not in understanding how emphasizing his
 benevolence or sharing his private side helps humanize him.

         I humbly present to you that Martin remained true to his commitment and dedicated his new
 company to the treatment of a rare parasitic infection. Martin's vision of creating a second-generation
 therapy for those suffering from toxoplasmosis may soon be reality, and would never have been possible
 without him. Martin is no longer running Vyera, but his goals are far from reached. Critical medical
 advancements in rare diseases are necessary, and Martin's vision and passion are essential for that
 common goal. I am available to talk if you need any further information from me.




                                                              ~      Walter Gordon Drane
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 75 of 203 PageID #: 15725




                              EXHIBIT 13
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 76 of 203 PageID #: 15726
  07 December 2017


  Hon. Kiyo A. Matsumoto
  United States District Court
  Eastern District of New York
  225 cadman Plaza East
  Brooklyn, New York 11201

  Dear Judge Matsumoto,

  I am a PhD chemist and board certified toxicologist with twenty years of experience in the
  biopharmaceutical industry. I am writing to you to request leniency for Martin Shkreli.

  While in graduate school, I was an NIH training fellow in Parasitology but was never able to work on a
  serious, industrial effort to cure parasitic disease. I have worked with companies such as Pfizer and
  Merck, but they were not interested in launching a major effort in parasitology because drug discovery
  in parasitic diseases historically has been viewed as an unprofitable/charitable endeavor. That all
  changed during the second half of my career when I focused on working with startup biotech companies
  that are pursuing new treatment for unmet medical needs and met Martin Shkreli. Martin's initiative in
  founding Turing to pursue new treatments for parasitic diseases such as toxoplasmosis and Chagas
  disease drew my attention and I joined the company on June 1 of 2015 to do what I could to help
  advance those projects. Industrial funding put several chemists, DMPK scientists, and clinicians to work
  on parasitic disease and resulted in rapid progress.

  The Martin Shkreli I know is a socially awkward, gentle, and kind person who is not a threat to himself or
  others. He has randomly donated money to children in need with no notoriety attached to the gifts
  whatsoever. I lament his regrettable outbursts on social media but I assure you that the Martin I know
  is not a danger to himself or others.

  Martin has a consistent track record of funding the discovery of new drugs for unmet medical needs.
  Martin's efforts at Retrophin lead to a new treatment for orphan disease. When Turing bought
  Daraprim (pyrimethamine), it was a neglected product. It was still being sold in glass bottles, a
  fed/fasted study had never been performed, and no one had ever bothered to carefully study the
  pharmacokinetics of the drug in neonates. Martin's uncompensated work at Turing has helped to
  launch those studies and more. Furthermore, Turing became the first company to develop new
  toxplasmosis drugs and now a more potent, selective drug is headed to the clinic for testing. This new
  drug (TUR-006) could obviate the need for sulfa drugs, and thus remove the allergic complications that
  up to 60% of HIV patients experience - in addition to kidney stones and the other complications of sulfa
  drugs. I fear the program could be canceled without Martin's insistence that it proceed as the major
  shareholder, so please do not seize his shares.

  Martin Shkreli deserves the same, reasonable sentence a non-famous, first time offender would receive
  and a second chance to make a positive impact on the world. Mass media pundits and comedians have
  described Martin as having "the most 'punchable' face in America" and other media outlets propagated
  the meme. He has been publicly threatened, lambasted, humiliated, and ostracized. Justice should be
  blind, not fixated on Wu Tang Clan albums. Please be fair to Martin Shkreli in the sentencing process.

  Thank You,

  Adam Brockman, PhD DABT
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 77 of 203 PageID #: 15727




                              EXHIBIT 14
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 78 of 203 PageID #: 15728



   Honorable Judge Kiyo Matsumoto,

            My name is Ralph Holzmann. I'm software engineer by trade, formerly a Senior
   Software Engineer at Twitter and currently the Chief Technology Oﬃcer of Godel Systems, Inc.,
   founded by Martin Shkreli. I'm writing to you in regards to my employer, mentor, and friend. I
   first encountered Martin's persona online in 2015 after his controversial price increase of the
   drug Daraprim made rounds in the news. I read the headlines and came to the same
   conclusion that most people did -- here's an entitled kid using his company to take advantage
   of the health care system to line his own pockets.
            I didn't give him another thought until early in 2016 when he appeared as a guest on a
   podcast I regularly listen to. During his interview, Martin got the opportunity to explain in his
   own words, the controversy over the price change, including the fact that he wasn't pocketing
   the profits but was instead rolling that money back into research and development for a better
   version of Daraprim, because the current version, while killing oﬀ the associated infection, also
   inflicts the patient with a host of terrible side eﬀects. That was the first time I got a sense of
   Martin's true character, as well as the realization that he had been treated unfairly in the media.
   After that interview, I followed Martin on some of his social media accounts and quickly
   discovered from some of his posts that he was working on learning how to write software.
   More specifically, he was learning the programming language, JavaScript, of which I have
   expert knowledge. I reached out to him and began helping him with some of the finer points of
   the language, and we became friends. As it turns out, Martin was intent on building a software
   company, and in typical Martin fashion, he wanted to learn everything there was to learn
   (almost to a fault) about the programming language and technology that he would be building
   his company on. I can tell you from my personal experience, that most non-technical founders
   of software companies do not start oﬀ by purchasing a small library of programming books and
   proceed to read them cover to cover, but that's what Martin did.
            Fast forward to the end of 2016 and Twitter announces it's second round of layoﬀs,
   which included entirely eliminating the team that I work on. I had a couple of options at that
   point: 1) I could transfer into another team at Twitter that had reached out to me. 2) I could
   begin exploring opportunities from many big name companies that already had their recruiters
   filling up email inbox. Or 3) I could help Martin Shkreli build his software company. This
   decision was not just my own. I have been blessed with a beautiful and supportive wife and
   five beautiful children, with one on the way. This decision would impact us all. I gave away the
   ending to the story at the beginning of this letter, but I'd like to explain why I believe I made the
   right choice to work for Martin instead of taking one of the other two options (which would
   have been much easier and safer).
            The first reason which I alluded to earlier is his unbridled passion for whatever he puts
   his mind to. Whether its learning how to program, building a pharmaceutical company,
   becoming a better chess player, or even researching and treating rare childhood diseases,
   Martin does not let anything get in his way. I knew that he would bring that passion to the
   software company. Second, I've witnessed Martin's compassion first hand. For example, when
   he paid a former contractor's rent because they were struggling and unable to find new work.
   Or when he spent an hour on the phone comforting the family member of a patient in South
   America that needed Daraprim. Unfortunately, Turing only has distribution rights for Daraprim in
   the United States, so there was nothing tangible that Martin could do for him, but that didn't
   stop him from spending his time and being there for him in that moment of fear and
   vulnerability. These are the anecdotes that never make it to the press, but people close to
   Martin often observe. Finally, I chose to work for Martin because I believe in his vision for the
   company. As I write this, we have engineers working on a groundbreaking way to leverage the
   cloud for pharmaceutical drug research that could dramatically increase the speed at which
   new treatments are discovered for many of the world's deadliest diseases. The sooner its
   completed and tested, the sooner it can be used to improve the quality of life of those around
   the world.
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 79 of 203 PageID #: 15729



          Everyone at the company is anxiously awaiting his return, not only for his intuition,
   product leadership, and charisma, but also because we all care deeply about him and his
   mission. I kindly ask you to consider us and our company when you determine his sentencing.

   Sincerely,

   Ralph Holzmann
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 80 of 203 PageID #: 15730




                              EXHIBIT 15
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 81 of 203 PageID #: 15731




   Curtis Fisher                                                                         November 10, 2017




   To whom it may concern,

      My name is Curtis Fisher and I am writing this letter to express my complete support for Martin
   Shkreli and to share the positive outcomes he has had on my life, both professionally and personally.
   was first introduced to Martin when I joined Turing Pharmaceuticals as a field representative in
   Baltimore, Md. in August, 2015. One major reason I had for joining Turing was to ensure our inner city
   AIDS patient population would be assured of access to the drugs they need to live. Daraprim is such a
   drug. Within the first two weeks of my employment Daraprim's price was dramatically increased. This
   increase in price raised great concerns amongst myself and my peers at Johns Hopkins Hospital. In
   addition, another issue facing our inner city patient population was there was only one way to get
   Daraprim which involved many steps and multiple patient touch points. This process and the price
   increase put our inner city population at a tremendous disadvantage. I immediately approached our
   senior leadership team, headed by Martin, and expressed my sincere concerns. Within a matter of hours
   I had received word from Martin that the Johns Hopkins Hospital group would not only receive an
   inpatient use discount of over 50% but also the inpatient/outpatient pharmacies would be allowed
   direct access to Daraprim making the drug more easily available to our patients. This action was the first
   time I saw what Martin's true motives were. He dramatically reduced the price and improved access of
   Daraprim for our Baltimore City patients. What's even more important to note is these patients are a
   majority 340b type. Turing loses significant profit each time our 340b program is used. But that didn't
   matter to Martin. These decisions were made and are still in effect today through out the entire nation,
   having had a positive impact on our patients and those helping them.

      I also want to point out that I continue to be a team member of Vyera Pharmaceuticals. (Formally
   Turing) This job has allowed me to continue to provide for my family of S. I have one child in college and
   two more ages 3 and 61 I face daily responsibilities to provide and protect my family and Martin through
   his vision and actions has allowed me the opportunity to continue to pursue my career and family
   dreams.

      I can't express enough the positive influences Martin has had on my professional and personal life. I
   know many others who feel exactly the same way. I am very grateful. Please feel free to reach out to me
   at any time should any questions or concerns arise.


   Sincere0'--IY,
          (I

   Curtis Fish r
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 82 of 203 PageID #: 15732




                              EXHIBIT 16
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 83 of 203 PageID #: 15733
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 84 of 203 PageID #: 15734
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 85 of 203 PageID #: 15735




                              EXHIBIT 17
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 86 of 203 PageID #: 15736



   Dear Judge Kiyo Matsumoto,

   I am writing to appeal to you in regards to Martin Shkreli. I met Martin as an employee at one of his
   companies, Retrophin, over three years ago before all the media, fame, and internet followers. It was
   the first and only time I encountered someone that treated everyone equally at a workplace, like family.
   I witnessed many counts of kindness, consideration, thoughtful acts that he probably does not
   remember himself. He never excludes anyone from an activity nor choose participants by hierarchy. He
   gets uncomfortable when people offer to do things for him and he will insist on doing things himself. He
   takes colleagues to fancy dinners but prefers ramen noodles and hot dogs himself. He cares freely to
   anyone who will accept it with the innocence and hope of a child. He gives people chances based on
   trust before proof.

   Despite his media reputation and online persona, I firmly believe he remains the same kind, generous,
   trusting person he was that I observed for the last few years. I have witnessed him at work on his way
   to a meeting and overheard a colleague sitting three feet away from me on the phone discussing cancer
   treatment for her terminally husband. He stopped to inquire if there is sufficient help, indicated he
   knows a few highly respected doctors to introduce her to. Then proceeded to ask if there is insurance
   coverage for the treatment. When he found out it was not covered due to our not so stellar health care
   system, he casually mentioned he has a foundation to help with all necessary fees. Then he continued
   walking to his meeting. In the mere 90 second conversation, he lifted all the worries of someone without
   a second thought. He never mentioned it to anyone and I know, from our colleague, he took no time to
   do what he said he would. This is just one of the many many acts of kindness that I have witnessed of
   him. True acts of kindness are not advertised. He opened Vyera not to make more money or to proof he
   is not a failure like the District Attorney claims. He did it to thank the people that has faith in him and
   simply wants to and enjoys working for him. He did it to provide us with jobs. He refused to take a salary
   at Vyera and we could not even sign him up for company medical benefits because of it.

   I am writing to you because his real self is not like what the media perceived. He does not cater to saying
   what the public wants to hear just to gain their favor. He is always honest and I think the public is angry
   he refuses to play by their rules than truly believes his words said in jest are true. He has been taken
   advantage of many times and yet he does not lose faith in humanity. As a bystander, I lost faith in
   humanity seeing how people used him as their personal unlimited piggy bank with no shame. But he
   continues to give a second, third, fourth etc. chance to anyone that apologize and asks to come back to
   enjoy his generosity again. As an adult, I honestly do not think I will meet another person as pure
   hearted as him. He has the ability to love without cynicism, trust with a child’s faith, and forgive at a
   higher than human power.

   I implore you to take this into consideration when it is time for his sentencing. I know he will adapt to
   anything but it pains me to see him punished severely for never wanting to let someone down.

   Sincerely,



   Catherine Chen
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 87 of 203 PageID #: 15737




                              EXHIBIT 18
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 88 of 203 PageID #: 15738

                                                                                                    October 28, 2017

To the Honorable Judge Matsumoto,

          I am writing to you regarding my friend Martin Shkreli. I first met Martin about 2 years ago, around when
his time in the media spotlight was getting into full swing . At the time, I was a recent college graduate working in
the healthcare industry as a scientist in a reference laboratory. At first, I had a hard time believing that a CEO who
could have anything he wanted and hang out with celebrities would want to associate with a nobody like me. But I
began to learn that we had many things in common, such as growing up in New York City with a poor immigrant
family and many similar interests. As our friendship developed over things like video games, chess, and computer
programming, any preconceived opinions based on the "most hated man in America" persona portrayed in the
media quickly vanished . Over time, I came to admire and believe in Martin and his vision so much that I changed
careers when he gave me an opportunity to work at his startup, Godel Systems. My hope is that in this letter, I can
share what I know about Martin and his character, so that you also might see him in the same light that I do .
          The main reason why I admire Martin so much is that he is willing to do sacrifice his time, money, and
reputation for the sake of a good cause. It's not as difficult to do the right thing when people are showering you
with praise and congratulations. However, if you tried to do something positive for the world and people were
actively working against you and painting you in a negative light without even giving you an opportunity to defend
yourself, most people in that position would come to the conclusion that it's not worth the effort. But not Martin. It
was incredibly humbling to watch him devote both his company 's and his own personal resources to researching
new treatments to rare diseases that other drug companies won't touch, in spite of all the negativity he's had to
face .
          If you could witness Martin in his day-to-day life, you would see what a thoughtful, humble and generous
person he is. Instead of buying fancy cars, expensive clothing and other things like you would expect a
multimillionaire to buy, Martin prefers to walk around Manhattan in jeans and t-shirts, often shirts that he received
as gifts from the various organizations he's donated to . I remember when Martin came to the defense of an
autistic teenager that was being bullied by the rapper 50 cent. Martin started a crowdfunding campaign, donating
thousands of dollars of his own money and inspiring many others to do the same .
         At a time when Martin was in the fight of his life, he still made time to listen and give advice to countless
people, including myself. I watched people from cancer patients, to people suffering from AIDS, to parents of
terminally ill children speak to Martin online . It was amazing to see the way he touched each one them by sharing
his knowledge of pharmaceutical developments to give them hope, and offered his support to them in their time of
need . Working for Martin has also been a wonderful experience . Martin always puts our needs and concerns
ahead of his own, even referring to us his coworkers rather than his employees. Hearing the news about Martin's
arrest was devastating to me and my colleagues. Nevertheless, I still stand firmly by Martin and don't regret
staking my career with him because I really believe in his potential to do great things for humanity.
         Over the past year, I attended several of his court proceedings all the way t~rough the week of jury
deliberation, silently watching in support as he and his legal ream fought for his freedom . I'm grateful that now I
have the opportunity to speak up as an advocate for him and testify towards his good character. I hope my letter
can give you some insight into what a wonderful person Martin is. In addition to all the great things he's
accomplished so far, I believe his greatest accomplishments still lie ahead in the future, if he is given the
opportunity to pursue them. Please grant Martin the most lenient sentence that you deem fit, so that he can
continue to improve the lives of many more people.




James Rondina
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 89 of 203 PageID #: 15739




                              EXHIBIT 19
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 90 of 203 PageID #: 15740
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 91 of 203 PageID #: 15741
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 92 of 203 PageID #: 15742




                          EXHIBIT 20
 Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 93 of 203 PageID #: 15743
 Kristen Lewis




 January 8, 2018

 Honorable Judge Kiyo A. Matsumoto
 United States District Judge
 Eastern District of New York
 United States Courthouse
 225 Cadman Plaza East
 Brooklyn, NY 11201

 Re: United States v. Martin Shkreli, 15 Cr. 637 (KAM)


Dear Judge Matsumoto,




        I'm writing to you in regards to Martin Shkreli, who I've known professionally for about
3 years. I knew about him before I met him. I was told he was a little quirky, but brilliant and
charismatic. I heard about his donations to charities and that he sent money to a family in need
because their child had a rare disease.

        I met him in October 2014 and in April 2015 I joined Turing and started working to build
out his team from within the company. Martin would walk around the office and invite people
to lunch . He invited everyone out after work. He wanted to include everyone and never
wanted to make anyone feel left out. Although I've always heard about his moments, I never
saw him in any other light than being just a really nice, charismatic, and brilliant guy. When we
went out as a group to a small dinner he tried to speak with everyone on the same level. It
never mattered who you were.

       Publicly Martin comes off much differently than he really is. In public he tries to come
off like this bad guy, but that's really not the case. He has his moments just like everybody else.
I've never seen those moments outside of social media though. Martin asks how I'm doing. He
asks about my family and always sends good wishes to us. I never saw him as this bad guy
people make him out to be.

       Martin has his moments, but deep down he really does care about people. He donated
to charities, to people, and is always open to opportunities to give back. At Turing he never
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 94 of 203 PageID #: 15744



  took a salary. He never gave himself a bonus. Instead, he gave to his employees and wanted to
   make everyone else happy. His goal has always been to ensure nobody ever loses a dollar
   investing in him. I assume that's where he's gotten himself into the predicament where he is
   now.

           I know what he did was wrong and that you must sentence him. I'm asking that you
   please be lenient in his sentencing. I'm almost certain that right now he's acting like typical
   Martin - reading STEM books I would never be able to comprehend . I hope his public persona
   doesn't influence you negatively because he really isn't the vile man the public makes him out
   to be. In reality he's just a typical guy who gets caught up in social media and searching for a
    little extra publicity.

            Sincerely,

             ~~
             Kristen Lewis
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 95 of 203 PageID #: 15745




                              EXHIBIT 21
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 96 of 203 PageID #: 15746




   19 January 2018

   Honorable Kiyo A. Matsumoto
   United States District Judge
   Eastern District of New York
   United States Courthouse
   225 Cadman Plaza East
   Brooklyn, New York 11201

   Re: Martin Shkreli

   Dear Judge Matsumoto:

   My name is Maureen Lohry, and I am an employee and friend of Martin Shkreli. I have a
   Bachelor of Science in Mechanical Engineering and a Bachelor of Arts in Music from Southern
   Methodist University, where I also spent two years conducting research in a biochemistry lab.
   Martin hired me upon graduation in May, and I currently work for him as a business
   development analyst. My tasks include financial modeling, detailed drug research, and aiding in
   the discovery of novel medicines. I often work with Martin one-on-one; as such, I feel I know
   him well and am qualified to speak of his character. Martin is an incredibly compassionate
   person who is truly committed to bettering the world through his work and I feel very fortunate
   to be working for him.

   Martin is an exceptionally dedicated boss who has taken a vested interest in ensuring my career
   is successful. Over the summer and fall, Martin spent countless hours teaching me the ins and
   outs of investing, finance, the drug approval process, and business in general, topics I knew close
   to nothing about. He has continued this mentorship throughout his incarceration, despite having
   only limited access to communication. Martin has never lost his patience or belittled me; in
   contrast, he has always made me feel as though I am his intellectual equal.

   In contrast to his online persona, Martin is actually very humble and enjoys the simpler things in
   life. His favorite place to unwind is at a dive bar across the street from his apartment, and he
   spends most of his weekends and free time working while ordering take-out and playing with his
   cat. Martin loves to livestream while working via YouTube, which allows the viewers to see his
   computer screen and gives us a glimpse into how a “pro” analyzes stocks. In addition to these
   informal livestreams, Martin has several organized series of videos on investing, finance, and
   chemistry that are taught in a lecture-style format, complete with PowerPoint slides and Martin’s
   own personal financial models and notes. There is a total of sixty-three videos in these series,
   amounting to over seventy-eight hours of lectures and nearly 1.6 million views. I think part of
   the reason Martin has been able to amass such a large following for these series is the fact that he
   engages with his students (the videos are recorded live with a chat feature) to really ensure that
   he is teaching in a clear and concise manner. It is no surprise to me that Martin has continued his
   teachings while incarcerated, helping his fellow inmates learn valuable skills so they can have
   the opportunity to be financially stable when free. I have been in correspondence with three other
   inmates at MDC Brooklyn who keep me updated on what “classes” Martin is teaching and
   occasionally request that I send them additional materials.
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 97 of 203 PageID #: 15747




   Martin and I are currently developing a cure for an extremely rare pediatric disease that carries a
   significant risk of fatality in infancy. Those who survive past the initial stage are fraught with
   persistent symptoms, immunodeficiencies, and low quality of life and available medicines do
   little to ameliorate these issues. Despite being characterized as early as the 1930s, this condition
   has been almost entirely ignored by the pharmaceutical industry. To the best of my knowledge,
   we are currently the only people actively researching a cure for this condition; its incidence is
   simply too low to be recognized by most as a worthwhile investment. Martin, however, sees
   patients as more than dollar signs and is entirely dedicated to curing this disease. Indeed, his
   involvement in this project cannot be overstated, as he is the one who identified the proteins that
   needed to be targeted after countless hours of research.

   I attended Martin’s trial over the summer and was very surprised when the jury returned a guilty
   verdict. However, I am confident that any mistakes made in the past are unlikely to be repeated.
   The corporate environment he currently has set up is nearly paranoid in how careful it does
   business. Martin is acutely aware of potential conflicts of interest and legal threats and always
   errs on the side of caution, even for seemingly innocuous situations such as taking paper home
   from the office to print work materials. Martin has absolutely no tolerance for sexism or
   discrimination in any form and is quick to correct his colleagues and friends who refer to me as a
   “girl” instead of a “woman”, knowing that this bothers me intensely but that I am generally too
   shy to say anything. Further, Martin has no intent to harm or take advantage; such behavior is
   entirely at odds with his personality. I believe these examples stem from strong ethical values
   and not from fear of getting caught, as he has always been consistent with me in these regards.
   Martin has expressed remorse for his actions on more than one occasion, and I truly believe he
   will not be found in a court room again.

   In closing, I respectfully ask that you consider leniency when deciding Martin’s sentence. I thank
   you in advance for your time and consideration.

   Sincerely yours,




   Maureen E. Lohry
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 98 of 203 PageID #: 15748




                              EXHIBIT 22
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 99 of 203 PageID #: 15749




10-25-2017




 Honorable Kiyo A. Matsumoto
 United States District Judge
 Eastern District of New York
 225 Cadman Plaza East
 New York, NY 11201




                               RE:   United States v. Martin Shkreli
                                             15 CR 637 (KAM)




  Dear Judge Matsumoto,



  I am writing regarding Martin Shkreli.



   I have known Martin for more than ten years.



   During that time, I have always been impressed by Martin's commitment to creating new
   medical innovations, and to the patients who need them.



   Despite his comments that sometimes suggest he has been driven mainly by financial
   considerations, I have found Martin's actions generally to be different. Martin has been directly
   involved in the creation of several potentially life-saving treatments. He has also been a
   champion of multiple patient support organizations and individual patients and their families.



    My experiences of Martin have been as a loyal and committed friend. He has always had time
    to be a sounding board, and to give advice and support on various projects. I have observed
    Martin mentor a number of young scientists and executives, many of whom have gone on to
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 100 of 203 PageID #: 15750




significant roles. Some ofthese individuals have conveyed to me that Martin's support made a
critical difference to their progression.

This is very important because medical science is all about talented people doing innovative
work. I am confident that in supporting young science talent, Martin has made a significant
contribution to medical science.

 I have also seen first-hand the way in which Martin would connect directly with the families of
 children with severe diseases, and how those experiences led Martin to develop potential new
 treatments, such as Fosmetpantotenate for a rare and devastating neurological disease.

 This program, and other programs that Martin has championed, reflect Martin's talent and commitment
 to advancing health innovation. Contrary to some popular images of Martin in the media, in my
 experience he has spent nearly all his time on a computer figuring out how to do something new, and
 better, in biopharmaceuticals. This is all the more notable because I came to learn that Martin is a self-
 taught biology and chemistry expert who has impressed PhDs with his insights.

 It is my impression that one reason for Martin's commitment to life science

          It is clear to me that this experience has made Martin very empathetic to the health issues of
 others, and has contributed a lot to his commitment to patients.

  There is no question that Martin's talents and commitment must be channeled appropriately.
  But' believe that Martin can and will be a continuing force for health innovation and the good
  of patients.

  I would ask your consideration ofthese important aspects, and the future value that Martin can
  bring to society.



   Sincerely




   The Vanguard Group for leadership
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 101 of 203 PageID #: 15751




                               EXHIBIT 23
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 102 of 203 PageID #: 15752



Tashdid Hasan




December 18, 2017

RE: Character Reference for Martin Shkreli

To The Honorable Judge Matsumoto,

I am writing on behalf of Martin Shkreli to ask for your mercy in his sentencing. I worked with Martin for
approximately sixteen months. During this period he has proven to be an astute investor and an inspiring
manager who drove me to my limits to achieve professional excellence. I was surprised to hear news of Martin's
entanglement with law enforcement. I provide this character reference in full knowledge of charges brought
against Martin for conspiracy and securities fraud.

I met Martin in 2012 when I drove a yellow cab to pay for college in New York City. During the ride we mostly
discussed investing in public markets. Martin encouraged me to do everything within my ability to complete my
degree and read books on investing. We met again in 2014. This time, upon learning that I was looking for a job,
Martin employed me as an intern at Retrophin, Inc. Later I joined Turing Pharmaceuticals as an analyst where I
worked with Martin until his removal from the company in December 2015.

Working with Martin was a turning point in my life. He gave me a chance to break into an industry with high
potential. I received opportunities to grow into my roles within in two organizations under his mentorship. We
spent many hours studying global pharmaceutical industry as he not only imparted knowledge, but also kindled
enthusiasm for the industry within me. This, combined with Martin's inspiring work ethic, made me a capable
professional. For this I am grateful.

Contrary to my experience working with Martin in a professional setting, I noticed that the general public has
mixed feelings about him. Martin is likely misunderstood by those who dislike him due to his occasional aloof and
tackles demeanor. Many people noticed his name in news related to raising the price of Daraprim; this casts
Martin under a negative light. However, based on my experience, I say with confidence that Martin cares about
the ill and the unfortunate which is evident through his philanthropic activities and relentless effort to find
treatment options for those afflicted with rare diseases without cure.

Martin Shkreli was convicted for securities fraud; he must be sentenced. Despite his run-in with law enforcement I
can attest, based on my professional relationship with Martin for approximately sixteen months, that he is a good
person. He made a positive impact on my life and helped me become a better professional. He spends a
considerable amount of time to find treatment options for rare diseases, which can potentially bring hope to
countless patients. I hope that you will have mercy on him as you decide the duration of his sentence for his
failure to obey the law.

Sincerely,




Tashdid Hasan
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 103 of 203 PageID #: 15753




                               EXHIBIT 24
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 104 of 203 PageID #: 15754




   November 2,2017




   Honorable Kiyo A. Matsumoto

   United States District Judge

   Eastern District of New York

   United States Courthouse

   225 Cadman Plaza East

   Brooklyn, NY 11201




   Dear Judge Matsumoto,




   My name is Gary Mohamed and I write to you on behalf of Martin Shkreli. I met Martin in 2002 through
   my work as a financial advisor when Martin was a young hedge fund analyst. To say that Martin is a
   very complex man is an understatement. Equal parts brilliant and impossible, and always struggling with
   personal demons hell bent on self-destruction. In fact, Martin's lifelong dream of running a publicly •
   traded pharmaceutical company was derailed pre maturely by this compulsion for self-destruction.

   Much has been made of Martin's short comings; labeled the 'most hated man in America', pilloried in
   the popular press, and publicly called a 'spoiled brat' by none other than the President of the United
   States of America, yet this persona that the public knows is only a part of the story. Again, Martin is a
   very complex man.

   Martin is also a very generous person who has zero regard for personal lUxury and comfort. I would
   dare say that this is a rarity for people convicted of financial fraud. Martin would much rather quietly
   give of his time and capital than to waste a penny on a personal comfort. I have heard many stories,
   never directly from Martin, where Martin arranged for medicine and medical treatments for desperately
   ill people of little means. I trust others will write to you with the details of these acts of grace.

   Martin's charity towards others is evident in how he seeks the good in everyone he meets. There are
   many examples of Martin extending opportunity to people of lesser means. Martin hired his Uber driver
   for a junior executive role in one of his companies after a single ride. This young man was a recent
   immigrant to the US and had no cOfPorate experience but that mattered little to Martin. Impressive as
   this act was, its only one of many. The example that stands out most to me is the 'JP Morgan' interview.
   JP Morgan was a chess hustler who worked in the park near Martin's office. I suspect he was homeless.
   The park had a number of chess hustlers and the games were 5 minutes long and the standard wager
   was $5. Martin and I visited the park often at lunch and he usually played a game. As I recall Martin
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 105 of 203 PageID #: 15755




   usually won. That is until he played JP Morgan and lost a number of times. Intrigued by his defeat
   Martin recognized something very special about this man and invited him to interview for a job at the
   hedge fund. Needless to say the day this homeless man showed up at the reception are of a respectable
   office for his job interview the scenario caused quite a ruckus.

   An obsessive compulsion for self-destruction is a debilitating affliction. Seeing a homeless man and a
   recent immigrant as equals is a rare and inspiring personal choice.

   Your honor it is with all due respect that I humbly ask you to impose the lowest appropriate sentence on
   Martin Shkreli.




   Respectfully,




   Gary Mohamed
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 106 of 203 PageID #: 15756




                               EXHIBIT 25
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 107 of 203 PageID #: 15757




   Dear Honorable Judge Kiyo Matsumoto,



           My name is Ryan Macy and I’m the current CEO of Godel Systems, Inc. I’m writing you to share
   my experiences with Martin Shrekli -- however before I begin, I want to give you a little background on
   myself. I come from an economically challenged childhood, served in the US Army for 8 years, and found
   the path to a better life as a startup entrepreneur. I’ve successfully created economic opportunities for
   others through the companies I’ve had the fortune to build. Martin shares these life experiences. He
   wasn’t born in a wealthy family and he created opportunity for himself and others through the
   companies he has built. Martin is an eccentric person. In fact, when I first heard of Martin, it was reading
   the news. I was, like most people, convinced that Martin was a greedy businessperson who didn’t care
   about anyone but himself. That couldn’t be further from the truth. Martin is a very compassionate and
   caring person that has helped others on numerous occasions. I’ve come to appreciate and admire
   Martin’s humanity, which is very much different from the person the media and even himself (on social
   media) portrays.



           I’ve seen Martin spend numerous hours education and helping others learn more about
   pharmaceuticals, the financial markets, and how to get past life’s various challenges. It’s all recorded
   and available on YouTube for anyone to consume. He’s given an inordinate amount of effort to see
   others be successful like himself. When I first met Martin, he was comforting and making numerous
   practical recommendations to a person who just found out they had cancer. While I’ve known him,
   Martin has continued this trend of helping and educating others. Martin has even helped me. When the
   board of directors, of a company I founded and spent 4 years building, decided that they wanted to
   bring an older, more seasoned operator to take my place, Martin comforted me and helped me
   understand how to create the best situation possible for everyone. Having two kids and a mortgage, I
   was at a loss – Martin offered me a job at Godel because he believed in me and saw potential. He knew
   my situation in stepped in to offer me a helping hand.



            Everyone that knows Martin, knows that he is a good person that contributes positively to
   society. We think it would be a shame to have his intellect and heart held at bay. I respectful ask that
   you consider Martin’s contributions to medicine, his involvement in companies that are creating
   economic opportunities for others, and his passion to make the world a better place for all, when you
   determine his sentencing.



   Warmest regards,



   Ryan Macy
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 108 of 203 PageID #: 15758




                               EXHIBIT 26
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 109 of 203 PageID #: 15759




    01/02118

    Honorable Kiyo A. Matsumoto/
    U.S. District Court, Eastern District of New York
    225 Cadman Plaza East, Brooklyn, NY 11201


    RE: Mr. Martin Shkreli
    Dear Judge Matsumoto,
            My name is Laura Castro and I work in the                                              I
    have been fortunate to know Martin Shkreli the past two years. I learned of Martin the way most
    people do: the media. I believed that he was a terrible person and deserved all the public hatred
    he received. I read numerous articles detailing the life of "America's Most Hated Man" and was
    intrigued to find out that he regularly live streamed his life on YouTube and various other social
    media websites. I decided to check it out for myselflate one night and was surprised by what I
    saw.
           Martin's stream was not what I expected. All I saw was a quiet, young man studying
    from a chemistry textbook. The chat was filled with people asking him science and
    pharmaceutical questions and Martin would try to respond to as many as possible. I also
    witnessed a steady flow of hate. People criticized his appearance, his apartment and anything
    they could come up with. I would watch Martin glance up at all the hate and casually go back to
    reading his book. I could not imagine how it felt to have all that hate and anger directed at me. I
    was fascinated and came back the next day.
            The next day was pretty much the same. Martin is constantly in work mode. I witnessed
    him work from day to night on researching rare diseases. I discovered that many pharmaceutical
    companies ignore patients suffering from rare diseases because they do not see a profit. Martin is
    different. He is focused on developing medicines to help these people because he truly cares.
    Strangers often bombard him asking for help and the latest research findings. Instead of ignoring
    these people, Martin takes the time to respond and get to know the person. I found this truly
    touching and was impressed with his compassion and patience.
             My favorite thing about Martin is his love ofteaching. It began with some quick lessons
    on chemistry. These were such a success that he began to branch out into other topics - mainly
    pharmaceuticals and finance. He began to provide weekly classes on the basics of the financial
    industry. People from all around the world would join these classes every week eager to learn
    from him. Martin was patient and took the time to explain concepts that often confuse people. As
    an educator myselt~ I could tell that teaching made Martin incredibly happy. He has a natural
    ability to make difficult topics understandable. He has continued educating while waiting for
    sentencing in MDe. It's important that I convey that this is not an 'act'. Martin is teaching
    because this is what he loves to do.
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 110 of 203 PageID #: 15760




            Despite Martin' s patience and opelUless, he was still bombarded by cruel comments,
    taunting and media abuse. It is my personal belief that Martin created a cocky, eccentric online
    persona to protect himself against the hatred he was receiving daily. I realize that not everyone
    can understand his sense of humor or see the sarcasm in his online po stings and that this often
    gets him into trouble. Please know that Martin has no intention of hurting or hanning anyone. He
    is a complex individual that may rub some people the wrong way, but at his core ifhe is a very
    giving, kind individual.
           I truly believe that Martin has learned from this experience. I believe it has helped him
    grow as a person and will create a positive change in Martin. I hope I have helped to show the
    real Martin and not just the eccentric side often talked about in the media. Every conversation I
    ever had with him, he was kind and considerate. I am honored to call him a friend.
    Sincerely,




    Laura Castro
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 111 of 203 PageID #: 15761




                               EXHIBIT 27
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 112 of 203 PageID #: 15762
                                                                         2/13/2018




 Dear Judge Matsumoto,



 My name is Sophia. I'm an artist from                    . In late 2015, I came to know about Martin
 Shkreli like most probably did. He's even widely reported about over here. As I was born into a doctors
 family, reading those articles made me feel very negative about him at first. 1 have exchanged thoughts
 about his case with said family and they suggested to me that Toxoplasmosis is quite an interesting
 parasitic disease and that I should research more on it and Martin's deed. I eventually did, and I came
 across interviews with Martin, as well as his live streams. He explained things further and my opinion
 started to change.
 Whether Martin intended to or not, by doing what he did involving his business methods, he exposed
 some of the more questionable practices of America's Corporate Pharmaceutical system. Why, you may
 ask, are America's corporate practices relevant to me as a German? American industrial & corporate
 practices tend to lead the way for both the first world & western economic developments overall.


 More so did my opinion change the more I ended up being a regular watcher of his live streams and his
 other media output. 1 experienced Martin's personal character for what is, being a very caring and
 gentle person when appropriate, who doesn't mean any harm, although some people may not perceive
 him like that because they don't share his relatively dark sense of humor.


 I really appreciate a lot of his social media output, which I see on par with some forms of performance
 art. I realize how he's parodying the general behavior of users on the internet, who sadly more often
 than not mean what they write and do online. At the the end of the day, Martin is capable of being a
 provocateur due to constantly shifting social paradigms. In the grand scheme of things, I know that
 some of his jokes have gone too far.
 Overall he's a human being and has good and bad days like everyone else, where sometimes we tend to
 cross lines and learn from it. Twitter, as well as Facebook and other platforms, is full of jokes about
 politicians and other people offame and public life, and judging by that how could someone think that
 his actions were criminal or wrong in regard to social media behaviour when many others behave far
 worse and suffer zero ramifications for their actions or their words.


 Martin gave me a sense of hope
                                                                                                best
 whereas all the doctors over here told me I'm a lost cause and had no interest in helping me get back on
 my feet.
 I'm very thankful for this effort of his, as this, as well as seeing him overcome his own struggles to
 reach his current level of personal success, allowed me to reconcile my own past experiences,
 successfully beat my own demons and move forward in a manner more conducive to successful future
 developments in my own life.


 Apart from that I also appreciated his countless free lessons in math , chemistry, finance, that he
 continues to teach while in custody. Even though these topics are not my field of interest nor my
 strength , as an artist I still was able to learn from them , and I saw how many people, regardless of
 gender, were positively intluenced and guided by his generous effort. At the end of the day, I realized
 what an intelligent, talented and gifted but also misunderstood guy he is.
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 113 of 203 PageID #: 15763




 ln short, what I am asking for is your mercy in sentencing Martin Shkreli. He has helped me and I am
 doing whatever I can to help him. Please consider all factors involved in this case before giving Martin
 his sentence.


 Sincerely,
 Sophia
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 114 of 203 PageID #: 15764




                               EXHIBIT 28
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 115 of 203 PageID #: 15765



  This letter is addressed to:

  Honorable Kiyo A. Matsumoto
  United States District Judge
  Eastern District of New York
  United States Courthouse
  225 Cadman Plaza East
  Brooklyn, New York 11201

  Re: United States vs. Martin Shkreli, 15 Cr. 637 (KAM)

  Dear Judge Matsumoto,

          My name is                       and I am a 29-year-old               nvestor.

                                                                     While I read about healthcare online, I
  somehow found Martin's name and decided to send him an email. He promptly answered me and I would
  say we exchanged maybe a hundred emails in a couple days around New Year's Eve. I basically kept asking
  him questions about everything related to                              , but if I remember correctly my
  questions also ranged from          ,                ,              Martin was extremely kind to me and
  told me about how he was starting a drug company called Retrophin and I decided to invest. I had a great
  retUlTI on my investment, and sold all of my shares the day Martin was fired by the board in late 2014.

            During these past few years until Martin's latest arrest I have come to know him relatively well and
  I feel like I have a valid opinion to share with your honor. My definition of Martin would be: He is a genius,
  yet extremely misunderstood. Unfortunately for him, I believe he is to blame for that misunderstanding.

          Mattin has been portrayed by the media as an evil person who raises prices of medicines and does
  not care for dying patients. His arrogant behavior in public reinforced that impression. Martin is paying for
  his bad PR, excessive social media presence and immaturity. For those mistakes, I believe he has already
  paid with all the negative issues he has faced recently. I truly hope that once he is free he decides to act in
  a more discreet and thoughtful manner.

          I have no opinion to voice whether Marlin is innocent or not, as that decision was up to the Jury
  and has already been made.

           What I, as
             ask, is that Martin be punished in a way that makes society benefit from his mental capacity. He
  could be of great help to medical research in general. I would use as examples Mr. Michael Milken and Mr.
  Frank Abganale Jr., two outstanding individuals who faced problems with the law, yet have given back to
  their country and society in an honest and decent manner. Each day that those two fellows were free instead
  of behind bars helped to make the world a better place. I honestly believe this could be true with Mr. Martin
  Shkreli.

  Thank you,

  P     M         .
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 116 of 203 PageID #: 15766




                               EXHIBIT 29
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 117 of 203 PageID #: 15767




   Honorable Kiyo A. Matsumoto

   United States District Judge

   Eastern District of New York

   United States Courthouse

   225 Cadman Plaza East

   Brooklyn, New York 11201



   Re: ​United States v. Martin Shkreli​, 15 Cr. 637 (KAM)

   Dear Judge Matsumoto,

   My name is              . I live in            where I am surrounded by beautiful
   mountains every day. I recently began to work for a locally based merchandising
   company as their lead convention representative. This requires me to travel to thirty
   events on average per year. Our company mainly works as a production and distribution
   means for musicians, graphic designers, Youtubers, and convention hosts themselves.

   I met Martin Shkreli around two years ago, when my life was very different. At the time I
   was working in the film industry,
          . My schedule was filled with long days, odd hours, and countless hotel stays.
   That environment made it difficult to develop friendships, especially since I had just
   moved to        . So I turned to the internet, where many a lonely night-owl like me
   reside. This is where I met Martin; on a website called Blab that’s sole purpose,
   inevitably, was to create communities.

   In July of 2016 I was raped on the evening of a networking event. I arrived home in
   shock, which quickly dissolved into panic. I was frightened, insecure, belittled, and
   alone. I desperately went through my list of personal contacts trying to find anyone who
   would help me; phoning some people many times in a row. Martin was the only person
   who answered that night. We talked for what felt like hours. He listened to me, calmed
   me down, helped me think and see straight, guided me toward what my next steps
   should be, encouraged me to call the police. And, he let me cry.
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 118 of 203 PageID #: 15768




   Over the next couple months getting through my day to day life felt next to impossible. I
   became a recluse; refusing to leave the safety of my home unless absolutely necessary.
   I was haunted by nightmares, and chose to forego sleep instead. Even though Martin
   couldn’t physically be near me, he sat with me through most of those days and nights
   via internet voice calls. We would talk, or not. Play games, or not. Do our own thing, or
   not. But, we were always connected. Something about knowing he could hear me made
   me feel safe. And, hearing him made me feel like I wasn’t alone. He suggested to me
   music, books, videos, and any other art form that he said had helped him through the
   rough patches in life.

   Martin was simply there for me in a way that many people don’t know how to be. Other
   people I knew would expect me to vent over coffee, and then we would each go back to
   our normal and separate lives. Unfortunately, healing isn’t that simple. I will never be
   able to say that I feel like it never happened, but I can say that I now feel like myself
   again. I have a lot of this to thank Martin for. He was there for me to lean on when I
   wasn’t strong enough to carry myself. He never complained, made me feel guilty, or
   expected anything in return. He offers the truest form of friendship I have ever known.
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 119 of 203 PageID #: 15769




                               EXHIBIT 30
-00637-KAM Document 538-1 Filed 02/27/18 Page 120 of 203 Pag
00637-KAM Document 538-1 Filed 02/27/18 Page 121 of 203 Pa
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 122 of 203 PageID #: 15772




                               EXHIBIT 31
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 123 of 203 PageID #: 15773
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 124 of 203 PageID #: 15774




                               EXHIBIT 32
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 125 of 203 PageID #: 15775
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 126 of 203 PageID #: 15776
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 127 of 203 PageID #: 15777
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 128 of 203 PageID #: 15778
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 129 of 203 PageID #: 15779




                               EXHIBIT 33
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 130 of 203 PageID #: 15780
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 131 of 203 PageID #: 15781
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 132 of 203 PageID #: 15782




                               EXHIBIT 34
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 133 of 203 PageID #: 15783



  Honorable Ki yo A. Matsumoto
  United States Di strict Judge
  Eastern District or New York
  225 Cadman Pl aza Enst
  Brooklyn, NY 11 20 1


  November 2, 20 17


  Cri stina Germano



  Dear Jud ge Mmsullloto.

  My name is Cri stina Germano and I work as a Med ica l Biller lor a large Ophthalmology practice
  on              . I am writing. in regarJs 10 ~\ilartin Shkreli nnd hi s upcoming sentencing. I ha ve
  been cOlllmunicatin g with Marlin for ovcr two years now and while we have not yet met in
  person, I can say with total conlidence that he is an incredibl y intelli gent , generous and
  producti ve member o f soc iet y.

  Like man y in the public eye. Martin has:l. public persona that is mark edl y diflerent from hi s
  actual sel L While he may engage in antics that don't makc sense to all. he is a natural entertainer
  who "puts on a show" through hi s li vestream videos for thou sa nds o fpeop1c who appreciate and
  share hi s hUlllor. I can't reall y explain why I' ve spent so man y hours watching Martin read frolll
  tex tbooks, answer phone calls from Ilms or play with his admahle cat Trashy. other than he is
  extremely channi ng and dmri sl11atic. It doesn'ttake lon g a rter observing Martin to realize that he
  has a huge heart and gentle so ul. I greatl y admire hi s fortitude in the lace o f negati ve and o ften
  mi sinformed med ia coverage and how he al ways stayed true to him sel f when it may have been
  easier not to.

  Martin is someo ne who cares deepl y about people and about th~ work he does. [ r~memb e r one
  video where Mm1in ca lled the l~lIher o fa ch ild suffc ring from PKAN: a very rare. l~lIal.
  childhood di sease wi th no known cure. Through hi s research. Martin was able to create a d ru g
  that may just put an end to thi s horribl e di sease. I watched Martin light up when spcaking of the
  progress he and hi s colleagues had made and thc good possibility Ihal no other child would have
  to succ umb to this illness again. He had call ed the ehi ld' s 1~lth~r becausc he saw on the news that
  a PKAN donation box had been stolen fro111 the man' s storc. Martin insisted o n cove rin g the cost
  and then so me and offered to meet wi th the Illlllil y to provide whatever so [ac ~ he co uld. Those
  sufferin g from rare diseases need people lik e Ma rti n to be a vo ice lo r them. to focus on research
  and cures and not stri ctl y pro ii ts . somethin g lllostillajor d rug companies an: not willing to do.

  In addition to being an accomplished sc ienti st. Mart in is a lso a gi lled teac her. He has created
  dozens o f videos with in-depth lessons in Finance. C hem istry and In vestin g which he ge nerously
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 134 of 203 PageID #: 15784




  shares with the publi c. Hearin g Mart in speak about to pics in which he h<ls ex pe rti se in is tru ly an
  honor and I would probably pay money lor these Icssons if thcy wcren't frec.

  Martin has l:Olllributcd to socicty in a prnlo llnd wily and ir thcre is anything rm sure o r. it' s Ihal
  he wi ll continue to do so. He has in spired mc to not on ly have conliden cc in who I <1m but 10
  purslle my passio ns and continuc my educat io n so that I may one day be able to help people in a
  sim il ar fash io n. Mart in is o ne ora ki nd . his nbility and de tenninat ioll know no bounds and Ill y
  on ly hope is thai he is abl e to ge l back 10 work soon.

  Thank yo u fo r taking the ti me to read th is letter. it is great ly apprec iated.

  Sincerel y,




  Cri st ina Gemlano
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 135 of 203 PageID #: 15785




                               EXHIBIT 35
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 136 of 203 PageID #: 15786




   November 20, 2017

   Honorable Kiyo A. Matsumoto
   United States District Judge
   Eastern District of New York
   United States Courthouse
   225 Cadman Plaza east
   Brooklyn, New York, 11201

   RE: My interactions with Mr. Martin Skreli

   Your Honor,

   My name is Dr. Andrei Krassioukov I am a full professor of medicine at the University of British
   Columbia, Vancouver, BC, Canada. My laboratory and clinical work is focused on various
   secondary complications of devastating spinal cord injuries (SCI). For over twenty years, since I
   moved to North America, I have established a clinical/research center for investigation of
   autonomic dysfunctions (abnormal control of the heart, blood vessels, urinary bladder, bowel,
   sweating and thermoregulation) that negatively impact the health and quality of life of individuals
   with spinal cord injury. My research also involves the examination of potential health conditions
   of Paralympic athletes with spinal cord injury.

   During the last decade my team was involved in numerous research projects during the
   Paralympic Games including Vancouver, 2010; London 2012, Sochi 2014; and Pan American
   games in Toronto in 2015.

   Obtaining research funding is integral to the work of clinicians and scientists involved in academic
   and clinical research. At the present time, numerous national and international granting agencies
   support research in my laboratory, including the following:
       Canadian agencies: Canadian Health Research Institute (CIHR), Heart and Stroke
           Foundation (HSF) of Canada, Canadian Foundation for Innovation (CFI), Rick Hansen
           Foundation and Institute;
       USA agencies: Department of Defence (DOD); Crag Nielsen Foundation, Christopher and
           Dana Reeve Foundation;
       International agencies: Wings for Life.

   My laboratory is also involved in numerous clinical trials that are sponsored by various
   pharmaceutical companies: Pfizer, Purdue, Coloplast, and Wellspect.

   With deference to above, the call that I received from Mr. Skreli’s office sometime in 2014 was
   not a surprise given that during the last twenty years, numerous companies and granting
   organisations have approached me with requests and/or offers regarding research activities in
   my laboratory and potential collaborations, as well as to gauge my interest in such collaborations.

   I interacted with Mr. Skreli and his colleagues on several occasions via conference calls,
   discussing various issues related to spinal cord injury and secondary complications. It was my


                                                    1
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 137 of 203 PageID #: 15787



   understanding that one of the members of his team had a child with spinal cord injury and Mr.
   Skreli and his team were genuinely interested in supporting research advances in this area.

   During the few conference calls that I had with Mr. Skrelli and his team I was impressed with his
   personal knowledge in area of spinal cord injury and complications that these individuals
   experience. During our discussions Mr. Skreli expressed his interest in Paralympic games and
   courage of Paralympic athletes with spinal cord injury who have to overcome many hurdles in
   order to reach and participate in the Games.

   During my interactions with Mr. Skreli he presented what appeared to be a genuine interest in
   supporting SCI research. Mr. Skreli expressed interest to provide a personal donation in support
   of ongoing research in my laboratory specifically related to Paralympic athletes.

   In the spring 2015, the UBC Department of Medicine received a donation from Mr. Skreli in
   amount of $50,000.00 US that was dedicated to the Paralympic research.

   This funding was used to support research that my laboratory conducted during the Pan American
   games in 2015 in Toronto, Canada. Some of the results of this research have been already
   published and Mr. Skreli’s donation was acknowledged together with other research funding that
   my laboratory received to conduct these studies.

   Following the conclusion of our work in Toronto, I also submitted a brief update to Mr. Skreli and
   his sister (who was helping to organise the donation) and he replied with a cordial email
   acknowledging the work of my students and my laboratory during the Toronto Games.

   I acknowledge the fact that my interactions with Mr. Skreli were very short and only via several
   conference calls and emails. However, during my interactions with him I felt that he was a young
   man who was genuinely interested in charitable support for the causes that were close to his
   heart.


   Sincerely,




   Andrei Krassioukov MD, PhD, FRCPC,
   Professor, Dep. Medicine, Div. Phys .Med. & Rehab.
   Chair, Rehabilitation Medicine
   Associate Director and Scientist, ICORD, Director of Autonomic
   Research Unit, Staff physician, Spinal Cord Program, GF Strong
   Rehabilitation Centre, University of British Columbia




                                                   2
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 138 of 203 PageID #: 15788




                               EXHIBIT 36
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 139 of 203 PageID #: 15789
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 140 of 203 PageID #: 15790




                               EXHIBIT 37
      Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 141 of 203 PageID #: 15791
          Original Research




       Spinal Cord Injury Impairs Cardiovascular Capacity
       in Elite Wheelchair Rugby Athletes
       Cameron M. Gee, MExSc,* Katharine D. Currie, PhD,* Aaron A. Phillips, PhD,* Jordan W. Squair, MSc,*† and
       Andrei V. Krassioukov, MD, PhD, FRCPC*‡§


         Abstract
         Objective: To examine differences in heart rate (HR) responses during international wheelchair rugby competition between
         athletes with and without a cervical spinal cord injury (SCI) and across standardized sport classifications. Design: Observational
         study. Setting: The 2015 Parapan American Games wheelchair rugby competition. Participants: Forty-three male athletes
         (31 6 8 years) with a cervical SCI (n 5 32) or tetraequivalent impairment (non-SCI, n 5 11). Main Outcome Measures: Average
         and peak HR (HRavg and HRpeak, respectively). To characterize HR responses in accordance with an athletes’ International
         Wheelchair Rugby Federation (IWRF) classification, we separated athletes into 3 groups: group I (IWRF classification 0.5-1.5, n 5
         15); group II (IWRF classification 2.0, n 5 15); and group III (IWRF classification 2.5-3.5, n 5 13). Results: Athletes with SCI had
         lower HRavg (111 6 14 bpm vs 155 6 13 bpm) and HRpeak (133 6 12 bpm vs 178 6 13 bpm) compared with non-SCI (both P ,
         0.001). Average HR was higher in group III than in I (136 6 25 bpm vs 115 6 20 bpm, P 5 0.045); however, SCI athletes showed no
         difference in HRavg or HRpeak between groups. Within group III, SCI athletes had lower HRavg (115 6 6 bpm vs 160 6 8 bpm) and
         HRpeak (135 6 11 bpm vs 183 6 11 bpm) than non-SCI athletes (both P , 0.001). Conclusions: This study is the first to
         demonstrate attenuated HR responses during competition in SCI compared with non-SCI athletes, likely due to injury to spinal
         autonomic pathways. Among athletes with SCI, IWRF classification was not related to differences in HR. Specific assessment of
         autonomic function after SCI may be able to predict HR during competition and consideration of autonomic impairments may
         improve the classification process.
         Key Words: tetraplegia, cardiovascular system, heart rate, sympathetic nervous system, exercise
         (Clin J Sport Med 2017;00:1–7)



       INTRODUCTION                                                                           tetraequivalent impairments (eg, amputations, polio, cerebral
                                                                                              palsy, and muscular dystrophy) (non-SCI)1 began to
       Wheelchair rugby is a Paralympic team sport invented in 1977
                                                                                              compete.2
       by individuals with tetraplegia as an alternative to wheelchair
                                                                                                 According to the International Paralympic Committee’s
       basketball and the aim to be more inclusive of individuals with
                                                                                              (IPC’s) classification code,3 classification aims to minimize the
       impaired upper limb function.1 Originally, almost all wheel-
                                                                                              impact on an individual’s impairment has on the outcome of
       chair rugby players were individuals with a complete cervical
                                                                                              competition4 that, given the array of impairments represented
       spinal cord injury (SCI). However, as the sport became more
                                                                                              in wheelchair rugby at both the local and elite level, can be
       popular, individuals with less severe SCI and those with
                                                                                              a difficult process.1 The International Wheelchair Rugby
       Submitted for publication June 13, 2017; accepted October 15, 2017.                    Federation’s (IWRF’s) classification process currently uses
       From the *International Collaboration on Repair Discoveries (ICORD), Faculty of        a combination of an off-court physical evaluation and on-
       Medicine, University of British Columbia, Vancouver, BC, Canada; †MD/PhD               court based assessments, both of which are primarily focused
       Training Program, Faculty of Medicine, University of British Columbia, Vancouver,
       BC, Canada; ‡Division of Physical Medicine and Rehabilitation, Faculty of Medicine,
                                                                                              on motor function of the upper extremities and trunk.
       University of British Columbia, Vancouver, BC, Canada; and §G. F. Strong               However, many athletes believe that the process needs to be
AU1    Rehabilitation Centre, Vancouver Coastal Health, Vancouver, BC, Canada.                improved.5 In fact, a recent survey of wheelchair rugby
       Research in the laboratory of Dr A. V. Krassioukov is supported by the Canadian        athletes found that 56% of respondents believed that the
       Institutes of Health Research, the Canadian Foundation for Innovation, the Heart       classification system required adjustments, whereas 41%
       and Stroke Foundation, the Craig H. Neilsen Foundation, The Shkreli Foundation,        believed that the system needed to be completely reper-
       Coloplast, Wellspect HealthCare, Purdue, and a personal donation from Dr John Le
       Nobel. Dr K. D. Currie is supported by a fellowship from the Craig H. Neilsen
                                                                                              formed.5 In addition, over a third of athletes (36%) felt that
       Foundation. Dr A. A. Phillips is a Killam Laureate who is supported by the Heart and   only individuals with an SCI should be allowed to compete.5
       Stroke Foundation of Canada, the Craig H. Neilsen Foundation, and the Michael          Although classification has traditionally focused on upper
       Smith Foundation for Health Research. Mr J. W. Squair is supported by a Frederick      limb and, more recently, trunk function,2 a potential index of
       Banting and Charles Best Canada Graduate Scholarship and a Vancouver Coastal
                                                                                              performance that is not currently considered in the classifica-
       Health-University of British Columbia MD/PhD Studentship from the Canadian
       Institutes of Health Research and a 4-Year Fellowship from the University of British   tion process is autonomic function.
       Columbia. The remaining author reports no conflicts of interest.                          Autonomic dysfunction is a common sequela after SCI,6,7
       Corresponding Author: Andrei V. Krassioukov, MD, PhD, FRCPC, International             and athletes with such dysfunction may be at a competitive
       Collaboration on Repair Discoveries—Blusson Spinal Cord Centre, 818 West 10th          disadvantage despite similar motor function to their similarly
       Ave, Vancouver, BC V5Z 1M9, Canada (andrei.krassioukov@vch.ca).                        classified competitors. Sympathetic preganglionic neurons
       Copyright © 2017 Wolters Kluwer Health, Inc. All rights reserved.                      (SPNs) that provide input to the cardiac and vascular smooth
       http://dx.doi.org/10.1097/JSM.0000000000000561                                         muscle cells exit the spinal cord at the T1-T5 and T1-L2 spinal

       Volume 00
                   ·   Number 00
                                   ·   Month 2017                                                                             www.cjsportmed.com             1


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Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 142 of 203 PageID #: 15792
C.M. Gee et al. (2017)                                                                                                                  Clin J Sport Med


segments, respectively.7 Therefore, injury to the spinal cord at                        nature. Therefore, the purpose of this study was to monitor
or above these segments (ie, cervical injury) can disrupt                               HR during game play such that we, as researchers and/or
descending autonomic spinal pathways and alter the sympa-                               classifiers, may gain greater insight into the cardiovascular
thetic control of the heart and large vascular beds predisposing                        demands of the sport for athletes both with and without SCI.
individual to an altered cardiovascular responses to exercise.                          We hypothesized that (1) athletes with non-SCI impairments
In fact, many nonathletic individuals with cervical SCI do not                          would achieve higher HRavg and peak HR (HRpeak) than
exhibit the same increase in blood pressure (BP) and heart rate                         athletes with SCI during games and (2) HRavg and HRpeak in
(HR) during exercise as able-bodied individuals.8,9                                     athletes with SCI would not change across IWRF classifica-
   However, because of the specific localization of descending                          tions, as this classification is based solely on motor function.
autonomic pathways within the spinal cord, some individuals
with severe motor/sensory impairment may have sparing of
autonomic spinal pathways9–11 and thus be able to achieve                               METHODS
a relatively normal cardiovascular response to exercise.9,12                            Participants
The possibility of various degrees of injury to autonomic
spinal pathways and associated clinical implications have                               We recruited 53 elite wheelchair rugby athletes from 5
been recognized during the last decade and new standards to                             international teams (Argentina, Brazil, Chile, Colombia, and
determine autonomic completeness such as the International                              United States) competing at the 2015 Parapan American
Standards to Document Remaining Autonomic Function after                                Games. Ten athletes were excluded because they did not play
Spinal Cord Injury (ISAFSCI)13 have been introduced.                                    in their respective games; hence, a total of 43 male athletes (31
Currently, the only data available on the cardiovascular                                6 8 years) were included in the present study. Athletes of each
response in SCI versus non-SCI wheelchair rugby athletes                                IWRF classification (range: 0.5-3.5) were assessed and both
were collected during practice matches and found HR to be                               those with (SCI, n 5 32) and without (non-SCI, n 5 11) SCI
significantly lower in SCI (100 6 20) than in non-SCI (143 6                            were included in the study. The non-SCI group comprised
27).14 Although we assume these values to be average HR                                 athletes with Charcot-Marie-Tooth disease (n 5 4), muscular
(HRavg), it is unclear whether data represent only time on                              dystrophy (n 5 2), hereditary sensory autonomic neuropathy
court or includes data collected when off court. Data collected                         (n 5 1), and triple (n 5 1) and quadruple amputations (n 5 3).
during wheelchair rugby game play15 and training16 have only                            We stratified athletes into the following 3 groups according to
looked at athletes with SCI. Given the altered response to                              their IWRF classification: IWRF group I—primarily defensive
exercise after cervical SCI,8,9 the current literature does not                         players (“blockers”) with classifications 0.5 to 1.5 (n 5 15);
provide a full picture of the cardiovascular demands of                                 IWRF group II—players with both defensive and offensive
wheelchair rugby, nor does it address the perceived issues                              (“playmaker”) abilities with a classification of 2.0 (n 5 15);
around classification regarding SCI versus non-SCI athletes.5                           and IWRF group III—primarily offensive players with
   Given the potential range of cardiovascular responses                                classifications of 2.5 to 3.5 (n 5 13). Height (meters) and
among wheelchair rugby athletes, the increasing number of                               weight (kilograms) were self-reported and are presented in
non-SCI competitors and the associated implications on                                  Table 1. All data were collected at the Mississauga Sports          ½T1
exercise performance, the assessment of such responses during                           Complex in Ontario, Canada. Informed consent was obtained
competition is critical in strengthening the classification                             from all participants included in the study. All procedures
process to ensure a level playing field. We chose to use HR                             performed in this study were in accordance with the ethical
monitoring during competition as an index of cardiovascular                             standards of the University of British Columbia’s Research
capacity due to the assessments ease of use and noninvasive                             Ethics Board, the Medical Committee of the IPC, and with the



 TABLE 1. Demographic and BP Data Presented in the 3 Levels for Which Analysis Was Performed
Group                Classification Range           n     Age, yrs    Height, m     Weight, kg    Pregame SBP/DBP, mm Hg     Postgame SBP/DBP, mm Hg
All subjects
   I                          0.5-1.5              15     32 6 8      1.76 6 0.10       63 6 11        111* 6 13/70 6 11         118 6 32/73 6 25
   II                            2                 15     30 6 7      1.75 6 0.18       71 6 10        115 6 15/64 6 11*         115 6 15/67 6 11
   III                        2.5-3.5              13     30 6 7      1.66 6 0.17       67 6 11        128 6 15/74 6 9           122 6 13/70 6 13
SCI only
   I                            0.5                12     33 6 12     1.81 6 0.12       69 6 13        111 6 14/69 6 12          119 6 36/70 6 27
   II                          1-1.5               13     33 6 5      1.78 6 0.05       63 6 10        114 6 16/63 6 11          115 6 16/66 6 12
   III                         2-2.5                7     31 6 7      1.77 6 0.12       73 6 10         126 6 8/71 6 9            118 6 7/62 6 7
SCI vs non-SCI
   SCI                         0.5-3               32     32 6 7      1.78 6 0.1        69 6 10        116 6 15/67 6 11          117 6 23/66 6 18
   Non-SCI                     1-3.5               11     28 6 7     1.57† 6 0.18   61‡ 6 11           124 6 18/76 6 8§         122 6 15/79 6 11 ‡
 * P , 0.05 compared with group III.
 † P , 0.001 compared with SCI group.
 ‡ P , 0.05 compared with SCI group.
 § P , 0.01 compared with SCI group.
 DBP, diastolic blood pressure; SBP, systolic blood pressure.


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Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 143 of 203 PageID #: 15793
 Volume 00
             ·   Number 00
                             ·   Month 2017                                                                               www.cjsportmed.com


 1964 Helsinki Declaration and its later amendments or                     comparisons were conducted when appropriate. Comparisons
 comparable ethical standards.                                             of pregame variables and those collected during or postgame
                                                                           were assessed using dependent samples t-tests. Standardized
                                                                           effects were calculated using Cohen d, or if samples sizes were
 Pregame and Postgame Hemodynamics
                                                                           uneven, Hedges g was used. Threshold values for magnitudes of
 A single, discrete measure of BP was recorded for each athlete in         standardized effects were 0.20, 0.50, 0.80, 1.20, and 2.00 for
 the seated position within 90 minutes of each game and no more            small, moderate, large, very large, and huge, respectively.18,19
 than 15 minutes after the conclusion of each game using an                Data are presented as mean 6 SD and level of significance for all
 automated BP cuff (Dinamap Pro 300V2; General Electric,                   tests was set at P , 0.05.
 Tampa, Florida). The 90-minute time frame for the assessment of
 pregame BP was chosen (1) so as to not interfere with team
 preparations and (2) athletes typically began pregame prepara-            RESULTS
 tions ;90 minutes before the start of the game. Postgame BP was           Effect of Spinal Cord Injury on Cardiovascular Response
 assessed as close to the end of the game as possible to record
 episodes of postexercise hypotension while not interfering with           The non-SCI group were significantly shorter (P , 0.001) and
 normal postgame procedures. During the pregame assessment,                lighter (P , 0.027) (Table 1) and presented with higher HRavg
 participants were outfitted with HR monitors (Polar team                  (155 6 13 bpm vs 111 6 14 bpm; P , 0.001, g 5 3.20) and
 System 2.0; Polar Electro Oy, Kempele, Finland).                          HRpeak (178 6 13 bpm vs 133 6 12 bpm; P , 0.001, g 5 3.67)
                                                                           during competition than the SCI group (Figures 1 and 2). Among          ½F1
                                                                           athletes in group III, HRavg (160 6 8 bpm vs 115 6 8 bpm; P ,           ½F2
 Heart Rate Response to Exercise
                                                                           0.001, d 5 5.63) and HRpeak (183 6 11 bpm vs 135 6 11 bpm;              ½F3
 Beat-by-beat HR was recorded throughout the warm-up and                   P , 0.001, d 5 4.36) were higher in the non-SCI group
 duration of the game. Data were collected once on each of the             (Figure 3). Because of the small number of non-SCI athletes in
 athletes that participated in the study, and all athletes from            groups I and II, statistical analyses were not performed.
 a single team were assessed during the same game. During
 each game, the times that each athlete was on or off the court
 were recorded by a member of the research team (C.M.G.) on                Effect of International Wheelchair Rugby Federation Group
                                                                           on Cardiovascular Response in All Athletes
 the laptop that synced with HR monitors to ensure HR data
 and times on/off court were time aligned. As the playing time             No significant differences in age, height, or weight existed
 of each individual may vary for tactical purposes,17 only the             between IWRF groups. It should be noted that there was
 times that each individual was on the court were analyzed
 (24.02 6 13.80 minutes, range: 3.32-65.32 minutes). Using
 this data, HRavg was determined as the average of all beat-by-
 beat HR during their playing time, whereas HRpeak was
 determined as the peak value from rolling 5-second averages.

 Data Analyses
 Four levels of analyses were performed to determine the
 cardiovascular demands of wheelchair rugby. First, we
 compared BP and HR data in subjects of all classifications
 according to their impairment (ie, SCI vs non-SCI) and within
 IWRF group comparisons of SCI versus non-SCI; second, we
 compared these variables in all subjects according to their
 IWRF group (ie, I-III); third, we compared these variables in
 only subjects with an SCI according to their IWRF group; and
 finally, we compared variables across team performance at the
 2015 Parapan American Games.

 Statistics
 All statistical analyses were conducted using SPSS software (IBM,
 New York, NY). Differences in BP and HR between SCI and
 non-SCI subjects as well as within IWRF group comparisons of
 SCI versus non-SCI were determined using independent samples
 t-tests. Differences between IWRF groups I to III were assessed
 using 1-way analysis of variance (ANOVA). Because of the small
 number of non-SCI athletes in IWRF groups I and II, analyses
 between SCI and non-SCI athletes were not performed; differ-
 ences between SCI and non-SCI athletes in group III were,                 Figure 1. A, Average HR achieved during game by athletes with (closed
 therefore, performed using independent samples t-tests, which             circles) and without (open squares) SCI. B, Peak HR achieved during
 can lead to an inflation of type I error. Differences between teams       game by athletes with and without SCI.
 were assessed using ANOVA. Tukey-corrected post hoc

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       Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 144 of 203 PageID #: 15794
       C.M. Gee et al. (2017)                                                                                                            Clin J Sport Med




       Figure 2. HR traces of 2 athletes. One with an SCI (grey line) at C5 neurological level (HRpeak 131 bpm; HRavg 115 bpm; IWRF classification 2.5). One
       with muscular dystrophy (black line) (HRpeak 184 bpm; HRavg 155 bpm; IWRF classification 2.0). Shaded sections indicate when both athletes were on
       the court.




       a higher proportion of non-SCI athletes in IWRF group III                      Effect of International Wheelchair Rugby Federation Group
       (7 SCI and 6 non-SCI) than in IWRF groups I (12 SCI and 3                      on Cardiovascular Response in Athletes With Spinal
       non-SCI) or II (13 SCI and 2 non-SCI). IWRF group III                          Cord Injury
       achieved a significantly higher HRavg than IWRF                                When non-SCI athletes were removed from the analysis, no
       group I during competition (P 5 0.045, d 5 0.93)                               significant differences in BP or HR remained between IWRF
       while HRpeak approached significance (P 5 0.050)                               groups I, II, and III (Table 2).
½T2   (Table 2).
                                                                                      Effect of Team Performance on Cardiovascular Response
                                                                                      Average HR and HRpeak for each team are presented in
                                                                                      Table 3. No differences were found between either HRavg or               ½T3
                                                                                      HRpeak when comparing all athletes. However, when only
                                                                                      athletes with SCI are included in analyses, significant differ-
                                                                                      ences existed between HRavg of athletes representing United
                                                                                      States and Colombia (P 5 0.015, g 5 2.5) and Brazil (P 5
                                                                                      0.032, g 5 1.71).


                                                                                      DISCUSSION
                                                                                      This study is the first to measure HR during elite wheelchair
                                                                                      rugby competition, and only the second time that such data
                                                                                      have been presented in any athletes with SCI competing at an
                                                                                      international level.11 Moreover, it is the first to compare HR
                                                                                      in SCI and non-SCI athletes competing against one another,
                                                                                      and our findings highlight that differences do exist that may
                                                                                      have implications on performance that are not considered
                                                                                      under the current IWRF classification system.20
                                                                                         Our findings demonstrate that wheelchair rugby athletes
                                                                                      with an SCI (of all classifications) have a blunted HR response
                                                                                      during wheelchair rugby games, whereas non-SCI individuals
                                                                                      were not impaired from a cardiovascular perspective and in
                                                                                      fact were able to achieve an HR similar to that recorded in
                                                                                      able-bodied individuals competing in court-based team
                                                                                      sports.21 Our laboratory has previously shown that reduced
                                                                                      capacity to elevate HR after SCI is due to disrupted descending
                                                                                      sympathoexcitatory pathways independent of exercise in-
                                                                                      tensity or capacity.22,23
       Figure 3. A, Average HR achieved during games by athletes with (closed
                                                                                         The observed HRavg in the present study (111 6 14 bpm)
       circles) and without (open squares) SCI of each classification group. B,
       Peak HR achieved during games by athletes with and without SCI of each
                                                                                      was slightly higher than what Griggs et al14 reported (100 6
       classification group.                                                          20 bpm) during practice matches in 17 athletes with SCI.
                                                                                      Previous studies that have documented HRpeak in wheelchair

                                                                                  4

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Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 145 of 203 PageID #: 15795
 Volume 00
                 ·   Number 00
                                 ·   Month 2017                                                                                               www.cjsportmed.com



  TABLE 2. HR Response to Exercise in Each                                                   because all athletes with an SCI had lesions at the cervical level
           Group for All Athletes and Only                                                   (ie, above the levels at which SPNs exit the spinal cord). It has
           Athletes With SCI                                                                 been demonstrated previously that some athletes with
  Group                     n            HRavg, bpm              HRpeak, bpm
                                                                                             tetraplegia can obtain what would be considered a normal
                                                                                             HR response during exercise,10,11 and it is postulated that this
  All athletes                                                                               is due to the sparing of descending spinal sympathetic
     I                     15            115 6 20*†              137 6 21*                   pathways that provide neural drive to the sinoatrial node
     II                    15            118 6 22*               141 6 19*                   and cardiac muscle.7
     III                   13            136 6 25*               157 6 27*                      Non-SCI athletes were able to achieve and maintain higher
                                                                                             HRs in response to exercise than athletes of similar motor
  SCI only
                                                                                             function with an SCI (as determined by IWRF classification).
     I                     12            107 6 13*               130 6 15*                   This is due to most of their impairments not being of the
     II                    13            112 6 17*               134 6 11*                   central nervous system; although, it should be noted that these
     III                    7            115 6 8*                135 6 11*                   individuals did have an array of impairments. In fact, only 1
  * P , 0.001 compared with HRrest.                                                          tetraequivalent athlete did not achieve an HRpeak of $160
  † P , 0.05 compared with group III.                                                        bpm, whereas not a single athlete with an SCI did so. Only 1
  HRrest, resting heart rate.                                                                non-SCI athlete had an HRavg ,147 bpm, whereas no athlete
                                                                                             with an SCI had an HRavg .133 bpm.
                                                                                                The difference in HRavg, but not HRpeak, between athletes
 athletes with cervical SCI have reported higher HRpeak                                      with SCI representing United States and Colombia or Brazil
 during a 40-minute maximal push test (153 6 15 bpm),24                                      may be explained by the nature of the particular game in
 lower HRpeak during training (118 6 17 bpm),16 and similar                                  which data were collected as we did not collect data on
 HRpeak during incremental arm ergometry (134 6 19                                           stoppages in play due to goals, penalties, or the ball going out
 bpm).25 Large variations in HRpeak between athletes were                                    of bounds. Furthermore, the performance of the team they
 also measured in each of these studies, which highlight the                                 were competing against may have an impact on HRavg as data
 heterogeneity of cardiac function among individuals with SCI.                               collected in athletes representing United States was collected
    Although athletes in higher classification groups have been                              versus Chile, whereas data from Brazilian and Colombian
 reported to cover greater distances26 at faster peak speeds,27 it                           athletes were collected versus United States. There was no
 is apparent that the higher HRs achieved by group III (those                                difference in the average shift times of athletes with SCI of each
 with IWRF classifications 2.5-3.5) can be attributed to the fact                            team, so the discrepancy in HRavg cannot be explained by
 that this group contains a greater number of non-SCI athletes                               a lack of playing time to elevate and maintain HR.
 because there is no evident relationship between classification                                As the lack of significant differences in average and HRpeak
 and the ability to achieve a higher HRavg or HRpeak when                                    among athletes with an SCI suggests that classification does
 assessing only athletes with an SCI. By comparing SCI and                                   not predict remaining autonomic function, so too does the
 non-SCI athletes of similar IWRF classification, it is evident                              lack of significant differences in pregame or postgame BP.
 that the observed differences are not due to greater motor                                  However, the assessment of BP did provide clinically relevant
 function among non-SCI athletes. This suggests that the ability                             cases that elucidate the extreme variability of BP in individuals
 of athletes with an SCI to achieve a higher HR during                                       with cervical SCI. Two athletes experienced episodic hyper-
 competition is not limited by functional ability but by the                                 tension, known as autonomic dysreflexia (AD),28 postgame
 pathophysiology of the injury itself.                                                       due to bladder overdistension. One of whom (age 31 years;
    The disruption of descending spinal sympathetic pathways                                 IWRF classification 1.0; pregame BP 111/61 mm Hg)
 prevents the transmission of sympathoexcitatory input from                                  presented postgame with hyperhydrosis and a BP of 214/
 cardiovascular regulatory centers to SPNs located caudal to                                 145 mm Hg—a recording that has previously been associated
 the site of injury. This is likely the case in the present study                            with various adverse events such as cerebral hemorrhage,29



  TABLE 3. HR Response to Exercise Across Teams for All Athletes and Only Athletes With SCI
  Team                                    United States                  Colombia                       Brazil                    Argentina         Chile
  Team rank                                       1                           2                            3                         4              5
  All athletes
     n                                            9                           6                            9                         8              11
     HRavg, bpm                             107 6 26                     134 6 18                     117 6 11                    125 6 27       130 6 26
     HRpeak, bpm                            138 6 24                     155 6 19                     135 6 11                    148 6 26       149 6 30
  SCI only
     n                                            8                           4                            9                         5              6
     HRavg, bpm                             99 6 10                      124 6 10*                   117 6 11†                    106 6 9        112 6 17
     HRpeak, bpm                            131 6 13                      143 6 6                     135 6 11                    130 6 6        128 6 19
  Team rank is determined by their placing at the 2015 Parapan American Games among those teams that participated in the study.
  * P , 0.02 compared with United States.
  † P , 0.04 compared with United States.


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      Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 146 of 203 PageID #: 15796
      C.M. Gee et al. (2017)                                                                                                              Clin J Sport Med


      myocardial ischemia,30 seizures,31 arrhythmias,32 and even                most likely a result of injury to descending spinal sympathetic
      death.33,34 However, another athlete (age 24 years; IWRF                  pathways caused by the SCI; however, this is the first time it
      classification 1.0; pregame BP 121/58 mm Hg) experienced                  has been shown to have an impact on cardiovascular capacity
      severe postexertional hypotension with symptoms of presyn-                during elite wheelchair sports in which athletes with and
      cope such that they required medical intervention to normalize            without SCI compete. Among athletes with an SCI, remaining
      their hypotensive symptoms.35 These findings suggest that                 upper limb and trunk function was not related to the ability to
      even in highly trained individuals with cervical SCI, there is an         elevate HR in response to increasing aerobic demand. Specific
      abnormal cardiovascular response to exercise due to neuro-                assessment of remaining autonomic function after SCI may be
      anatomical changes after SCI rather than training status.                 able to predict the HR response during competition, and
         From a fair play perspective, it is of paramount importance            future research in this area may have implications not only for
      that an athletes’ classification represents their true ability to         classification but also individualized training programs for
      perform the sport. Considering that autonomic dysfunction                 athletes with an SCI. Future research should be directed at
      impairs aerobic capacity and that having an SCI resulted in               how best to implement the IPC mandate of improving athlete
      a blunted, but highly variable, cardiovascular response to                classification and incorporating cardiovascular capacity as
      exercise, assessing autonomic dysfunction, via established                a factor effecting performance.
      tests such as the sit-up test15 (an assessment of descending
      vasomotor function)36 or sympathetic skin responses11 (an
      assessment of descending sudomotor function)37 among                      ACKNOWLEDGMENTS
      athletes with SCI may be a future consideration for the IWRF              The authors express their gratitude to all the wheelchair rugby
      classification system. Clearly, further research is required to           athletes that participated in the study during the 2015
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      Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 147 of 203 PageID #: 15797
       Volume 00
                   ·   Number 00
                                   ·   Month 2017                                                                                                       www.cjsportmed.com


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Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 148 of 203 PageID #: 15798




                               EXHIBIT 38
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 149 of 203 PageID #: 15799
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 150 of 203 PageID #: 15800
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 151 of 203 PageID #: 15801
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 152 of 203 PageID #: 15802
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 153 of 203 PageID #: 15803




                               EXHIBIT 39
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 154 of 203 PageID #: 15804



   To the Honorable Judge Matsumoto,



   As a brief background, I am twenty-eight living in the Philadelphia area. I currently work for a
   chiropractor as a medical assistant. I previously worked for an information technology company at the
   time of meeting Martin. I have some college experience, and I am currently taking independent classes
   online for web design.

   I met Martin in 2016. I had first met him in an online video chat group, where people from all over can
   meet one another. I enjoyed the possibility of safely meeting new and interesting people online with
   different backgrounds, in different places. The environment was fun, and I continued to frequent the
   site. After speaking online, for about a month, we made plans to meet in person. I first met him on
   Easter of 2016.

   When we met in person, I jokingly offered Martin a cat that my Mom was fostering. That was eventually
   adopted by one of my relatives. He expressed interest in that, so I took it upon myself to adopt a cat for
   him. That cat was Trashy. She was initially skittish due to either poor eyesight or deafness, the adoption
   center was unable to confirm, but Martin took the time and effort to gain her trust. They formed a
   strong bond, and he provided a good home for a disabled cat that had been in a shelter for two years
   and would otherwise be there.

   Having been less fortunate himself, I believe he empathizes with those that are in a similar position. I
   feel that his intentions in life are to help others succeed like he has. I would like to ask for the most
   lenient sentence deemed fit, and I thank you for reading my letter.



   Amber Emmertz
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 155 of 203 PageID #: 15805




                               EXHIBIT 40
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 156 of 203 PageID #: 15806




   November 1, 2017

   Honorable Kiyo A. Matsumoto
   United States District Judge
   Eastern District of New York
   United States Courthouse
   225 Cadman Plaza East
   Brooklyn, New York 11201

   Dear Judge Matsumoto:

   My name is Barbara Gunn, and I am employed as the Executive Director of The Hunter College
   Foundation. Although I have not met Martin Shkreli personally, I write today as the
   representative of the Hunter College Foundation, to describe how his philanthropic support has
   benefited the students of the Hunter College Campus Schools.

   In 2012, Mr. Shkreli reached out to the Hunter College High School Alumni Association
   (HCHSAA) and the Hunter College Foundation, stating that, as an alum, he wanted to give back
   to the school where he experienced (per the Summer 2015 AlumNotes publication of the
   HCHSAA) a" ... vibrant and rigorous education that was simultaneously friendly and sociable."
   Hunter College High School is a publically funded grade 7-12 school that is part of the Hunter
   College Campus Schools (grades K-12), publicly funded, selective admission schools for
   intellectually talented and gifted students.

   Mr. Shkreli subsequently made a generous $1 Million donation to the school, the largest gift the
   institution has ever received, saying, "Hunter helped me during some unique life challenges. I
   know there are plenty of other students with similar challenges."

   His donation was divided into two separate programs: a Spend-Down Fund for immediate use
   under the direction of the HCHSAA, and an Endowment Fund, of which the interest income is
   used to provide long-term support. The gift has been, and will continue to be, used to support
   students at Hunter College High School. The gift has been used to create an Internship/College
   Coordinator, who works to connect needy students with summer internships and also helps link
   qualified 11 th and lih grade students to appropriate college-credit courses at Hanter College.
   The funds have also been used to upgrade a language laboratory, to maintain a writing center
   within the English department at the school, and to provide overnight college visits for students
   of families of modest means and who otherwise might not be able to see first-hand what a



   Hunter College of The City University of New York, 695 Park Avenue, East 1313, New York, NY 10065
                     phone: 212-772-4085 fax: 212-772-40H www.hunter.cun),edu
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 157 of 203 PageID #: 15807




   college looks and feels like outside the urban environment of New York City. Funds from the
   endowed portion of the gift will be used to help support a significant capital project that will
   directly benefit the lives of all students in the school building (grades K-12).

   In our estimation, Mr. Shkreli's gift has had a positive impact on the school, which is attended by
   brilliant students who go on to top colleges, but, as a public institution, has a very limited budget.
   Private donations make a tremendous difference in the quality of the education our students
   receIve.



     ar ara Gunn
   Executive Director, The Hunter College Foundation
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 158 of 203 PageID #: 15808




                               EXHIBIT 41
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 159 of 203 PageID #: 15809



                         REPORT: Expenditures from Martin Shkreli Funds

   As of December 2017

   SPEND-DOWN ACCOUNT

   PERSONNEL
   Writing Center
   The Writing Center, entering its fifth year in 2017-2018, came about as the result of a 2012-2013
   Task Force of faculty from several disciplines, led by English and Communications & Theatre
   Department Chair. The Writing Center is staffed by two faculty members five days per week and
   one additional faculty member two days per week, and is fully part of the fabric of the High School
   learning community. It has become an integral support service for students in all grades.

   The Writing Center is now supported by the Martin Shkreli Funds. The salary stipend for 2016-
   2017 was $19,040, for one faculty member; in 2017-2018 it is $16,567, split between two faculty
   members. We allow for up to $2,000 in administrative/office costs.

   Internship/College Course/Study Abroad Coordinator
   Over the past five years, the number of senior year internships had decreased, largely because many
   past internships took place in the financial sector, and those internships are now closed off to high
   school students. In addition, the number of students taking Hunter College courses has dramatically
   increased, requiring additional coordination. Finally, students who wish to study abroad have to find
   their own placements. In 2016-2017, we hired a consultant for $500 to coordinate efforts with the
   HCHS Parent-Teacher Association and the HCHSAA, in order to find and promote additional
   options for rising Seniors. Senior internships rose from five in the Fall of 2016 to sixteen in the Fall
   of 2017. Thanks to the Martin Shkreli funds, we are expanding the External Affairs Office to
   handle this increase, as well as the increase in off-campus courses. We also expect the expansion to
   allow for the exploration of study-abroad opportunities for students. The salary stipend for 2017-
   2018 is $17,237, based on the salary of the participating faculty member. We allow for up to $2,000
   in administrative/office costs.

   PROGRAM
   College Visit/Test Prep Support
   Funds are dedicated to increase access to both standardized test preparation for HCHS fee-waiver
   juniors and seniors, and college visitation for all HCHS students, especially fee-waiver students. In
   June, Hunter took 45 Juniors (approximately 25% of the Class of 2018) on an extremely successful
   tour of Cornell University, Ithaca College, Binghamton University and Vassar College, our second
   such tour. The total cost of the tour was $8,425. In addition, we entered into an agreement with
   Kaplan to provide “almost free” test preparation classes for members of the Classes of 2018 and
   2019 who are on the school’s fee-waiver list. To date, nineteen students have taken advantage of
   this service, for a cost of $7,325.
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 160 of 203 PageID #: 15810



   ENDOWMENT ACCOUNT

   PERSONNEL
   Science and Computer Science
   The combined grants from the Hunter College Foundation fund a total of four “allowances” (that is,
   course reductions for full-time faculty members) to support science and computer science. One of
   those allowances is supported by the Martin Shkreli Funds. The salary stipend for 2016-2017 was
   $18,949 and for 2017-2018 is $21,546, based on the salary of the participating faculty member. We
   allow for up to $3,000 for equipment, materials and journals, and $2,000 in administrative/office
   costs.
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 161 of 203 PageID #: 15811




                               EXHIBIT 42
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 162 of 203 PageID #: 15812




                  Ken McCarthy

                                                                                       December 15, 2017
   U.S. District Judge Kiyo Matsumoto
   United States District Court
   Eastern District of New York
   225 Cadman Plaza
   East Brooklyn, New York 11201

   Dear Judge Matsumoto,

   Like many people, my first introduction to the defendant Martin Shkreli was through the news media. He
   appeared to me to be a most unsympathetic, if not contemptible person.

   Then a colleague sent me a video of a presentation he gave at Harvard which I watched in its entirety. I
   also sought out and watched a video of a presentation he gave at Princeton. Based on his remarks and
   how he conducted himself my opinion of him changed significantly.

   This led me to view his videos on YouTube. Quite frankly, much of it is juvenile and inexplicable.

   However, among his output I found a course he created and gave away on investing made up of 18 multi-
   hour sessions. It is, without question, one of the finest courses on this subject I have ever seen and I say
   that as someone who has worked for First Boston and Bakers Trust, has a personal library full of
   investment and finance books, and has guest lectured at the Graduate Business Schools of MIT,
   Columbia University and NYU. He also created and gave away a 15 part course on basic chemistry.

   I have been corresponding with Mr. Shkreli since he was incarcerated and his sole interest, besides
   personal preservation, has been to acquire materials to assist him in teaching fellow inmates. He has
   requested dictionaries, basic math books, grammars, and self-help books which I have sent him.

   Mr. Shkreli is an highly unusual and I imagine aggravating man, but I have rarely in my 35+ years as an
   educator encountered any individual in any setting with his depth of sincerity towards uplifting others
   through education.                                       I




   In an article written by Tony Haile and published by Time Magazine on March 9, 2014, I was credited with
   having one of the fundamental insights that made the commercialization of the Internet possible. In my
   career, I have encountered and had to deal with many people with extraordinary intellectual gifts. The fact
   is not all such people develop evenly especially in the area of social interaction.

   Mr. Shkreli has a great deal to offer the world. Based on my admittedly limited interaction with him, I take
   him at his word that he is committed to doing the kind of primary research in rare diseases that large
   pharmaceutical companies do not. It's entirely congruent with his demonstrated attitude towards uplifting
   others through education. I strongly feel that society would be better served by him returning to and
   focusing on this work as quickly as possible. I will certainly use any influence I have on him to assist him
   in avoiding the behaviors that take him away from this focus.

   Thank you for taking the time to read my letter.


   Sln/~       t/;1 f  ~
   lenh~th J. McCarth; /
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 163 of 203 PageID #: 15813




                               EXHIBIT 43
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 164 of 203 PageID #: 15814




   Honorable Kiyo A. Matsumoto
   United States District Judge
   Eastern District of New York
   United States Courthouse
   225 Cadman Plaza East
   Brooklyn, New York 11201

   Re: ​United States v. Martin Shkreli​, 15 Cr. 637 (KAM)

   Dear Judge Matsumoto:

   By way of introduction, I am the founding CEO of a marine research startup (American Marine Research
   Company) tasked with selective control of invasive species. I am writing to you to provide my experience
   in interacting with Martin Shkreli.

   Martin and I met first at a lecture he gave at Princeton University in spring semester of my senior year at
   Princeton University. As an aspiring mathematician working on his senior thesis, these sorts of campus
   talks by celebrities would generally not draw me away from my work, but I attended as a function of the
   venue’s proximity to the math department’s Fine Hall and the spectacle that such a celebrity-villain could
   bring to an otherwise quiet suburban New Jersey campus. In the first minutes of his talk Martin presented
   a slide presenting a yes-no math question, which he said was a good illustration of how unintuitive reality
   can sometimes be. Like most American students, some cajoling was required to direct attention to a math
   problem, so Martin offered to the first student to answer the question with a rigorous proof payment for
   the remainder of their tuition at Princeton. I was fortunate to arrive at the solution in short order and
   submitted a short but rigorous answer to Martin. As Martin intended, the answer was unintuitive, and the
   most elegant proof required a return to fundamental definitions of numbers.

   In the QA and discussion after the structured lecture, I approached Martin about redeeming my prize. He
   recognized me as the first student to submit and I admitted that as a senior, I had no tuition left to pay. I
   asked instead if he would be willing to finance my continued education outside of school via a scholarship
   to work the startup that has since grown into I am proud to be a part of now. He heard out my pitch, and
   agreed to have the conversation over the next few weeks. I was disappointed, however, to learn that he
   needed to ask a professor to validate the proof before he would award a prize.

   Upon following up with him in the next week, what was initially a checkup on whether my proof was
   validated turned into a sequence of career-advising phone conversations where we discussed topics
   ranging from effective altruism to startup financing to K-12 STEM education to our immigrant parents.
   After he validated my original solution to my problem, he agreed to award me a generous (by my view,
   anyways) scholarship, and urged me to use it to explore the work that so captivated me about my startup.
   It was an unprecedented act of generosity on his part, towards a student who probably classified him as no
   more than an Internet troll who happened to be wealthy. In hindsight, it was some the best mentorship I
   had received in a while.
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 165 of 203 PageID #: 15815




   If I may highlight some bits from our conversations, I asked Martin once, probingly, how a supposedly
   intelligent and practical man like him could justify wasting time trolling the internet and making
   unnecessary enemies. He answered that he grew up with an internet that was not unlike Wild West, and
   where there was almost nothing ​but​ trolling. He further admitted that the internet of is childhood is gone,
   probably for the better, and he wish he had realized that earlier. When I asked him how as a health
   industry investor and avid reader of medical research why he didn’t exercise better and take simple,
   effective measures to combat his sickliness, he replied that he could probably do better, but that when
   there was work to be done, it was hard to justify exercise and self-care that his blue-collar parents
   couldn’t even think of prioritizing.

   In our interactions, I’ve come find Martin to be an intelligent and kind individual. I understand that as the
   recipient of a prize, my opinion is likely to be discounted, and I suppose that may be valid. But I also
   want to add that I have tried to limit my connection to Martin; the journalist harassment and my general
   dislike of attention made it difficult to bring myself to write this letter. I write this letter because I believe
   if Martin’s dealing with me, an humble recent college grad are any indication of his character an
   motivations, I believe he is a good man.

   With that, trusting in the wisdom and justice of our legal system, I submit this plea for leniency for
   Martin.



                                                                Sincerely,




                                                                Yuan Wang
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 166 of 203 PageID #: 15816




                               EXHIBIT 44
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 167 of 203 PageID #: 15817



  12/12/17

  Honorable Kiyo A. Matsumotol
  U.S. District Court, Eastern District of New York
  225 Cadman Plaza East, Brooklyn, NY 11201


  RE: Mr. Martin Shkreli

  Dear Judge Matsumoto,

  My name is Lisa Whisnant. I work in the financial service industry for a firm that provides
  investment and wealth management advice to commercial and retail clients in                       .I
  have known Mr. Shkreli for a little more than two years. I learned of Martin's existence the way
  most people did, via the vast amount of negative press he receives. I decided to delve deeper
  into his story because, much to the delight and intent of the media, he quickly amassed a large
  amount of public hatred that didn't seem to fully fit his deeds. All drug companies regularly raise
  their prices, and we are all entitled to invoke our Fifth Amendment Rights, so I couldn't
  understand why there was so much venom for one man? I felt strongly compelled to understand
  the full details of Martin's story. I was delighted when I found out that he regularly shared his life
  online, which made him accessible in ways that most people in his position aren't. After
  watching him for a few days on his YouTube channel, I reached out to him through direct
  message. Much to my surprise, he wrote back in a considerate and cordial manner. We have
  met in person several times, and our friendship has continued to grow over the years.

  I have spent many research hours following Martin's case and personal life. My perspective and
  basis for my opinions come from knowing the off-camera Martin, and many of his real-life
  friends. The following examples are but a fraction of the things I have learned about him. Martin
  puts his work before his personal life on a regular basis. He works many tireless hours of the
  day and night to build companies and develop treatments to help people who otherwise would
  have had no hope were it not for Martin and his team's tireless efforts.

  It is likely that most people have not had to use a treatment that Martin has helped develop, or
  know anyone else who has since Martin specializes in rare diseases. But to those patients and
  to their families, his work is a godsend. An immeasurable blessing in which they are exceedingly
  grateful. There is no price too high to have more time with a loved one. Martin's desire to help
  those who are often overlooked by bigger pharmaceutical companies is a deep calling that
  drives him every day. Martin's work saves lives! Even if he never develops another medicine
  his current work will still outlive us all, and positively impact lives far into the future. As soon as
  he's allowed to move forward with his life he can be free to continue the work he's meant to do.

   Despite his, at times, pugnacious online persona, Martin at his core is a person who is
   dedicated to making the world a better place. Martin is a gracious host who is a surprising far
   cry from the brusque and controversial character he portrays online. He is thoughtful and
   genuinely interested in furthering his knowledge and understanding the world at large. Believe it

                                               Page 1 of 2
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 168 of 203 PageID #: 15818


  or not, he is a caring individual who enjoys sharing information with anyone who is willing to
  respectfully listen and expects nothing in return other than for people to leave his presence with
  more understanding and enlightenment, even if they disagree with him.

  Martin has a rare talent and is passionate about teaching. He can effectively convey information
  about subjects that are considered by some, hard to learn and uninteresting. Being new to the
  financial industry myself, I have found some areas to be quite daunting to understand. Martin
  holds weekly sessions where he explains how the industry works, as well as shares his opinions
  about some of his personal holdings. The classes are both educational and entertaining. Aside
  from the classes, Martin has personally patiently explained things to me when I have a question
  about finance. He could talk down to me, or simply ignore me, but he doesn't. This has helped
  me do my job more effectively with more understanding.

  Martin is a caring pet-parent. He adopted an abused cat who he affectionately named Trashy.
  She was afraid of everything. The world watched as he spent months patiently winning her trust
  and love. Martin became her whole world, she still hides from everyone else. Many people say
  that Martin is incapable of empathy but if anyone struggles to see what he does for humanity at
  large, it is undeniable that he shows his capacity for genuine tenderness and love towards her.

  Martin has an undeniably eccentric sense of humor. He behaves in ways that others may not
  understand and could construe negatively. It can be difficult to see who Martin really is or see
  the good that he does because of the rhetoric surrounding him and sometimes even his own
  actions. Even though he can get carried away with his social media posts Martin has no
  intention of harming anyone. I kindly ask when you deliberate Martin's sentence that you will
  consider the complex person he is, and genuinely believe that he is not a threat to society in any
  way. It really is quite the opposite as I hope you can see.

  There is no doubt that Martin has learned from this and will move forward in his life with greater
  wisdom and a clearer perspective that this experience has surely given him. He has been
  blessed with an uncommon ability, not only to change his own reality in ways that most can only
  dream of, but also to bring a positive change and healing in other's lives as well. It is an honor
  for me to know this man and to write this letter in hopes that it will in some way help to shed
  some light on who he truly is.

   Sincerely,




   Lisa Whisnant




                                             Page 2 of 2
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 169 of 203 PageID #: 15819




                               EXHIBIT 45
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 170 of 203 PageID #: 15820




      November	  14,	  2017	  
      	  
      Honorable	  Kiyo	  A.	  Matsumoto	  
      United	  States	  District	  Judge	  
      Eastern	  District	  of	  New	  York	  
      United	  States	  Courthouse	  
      225	  Cadman	  Plaza	  East	  
      Brooklyn,	  New	  York	  11201	  
      	  
                                                                             	  
                                Re:	  United	  States	  v.	  Martin	  Shkreli,	  15	  Cr.	  637	  (KAM)	  
      	  
      Dear	  Judge	  Matsumoto,	  
      	  
      	           Martin	  Shkreli	  has	  had	  a	  positive	  impact	  on	  my	  life	  and	  I	  hope	  this	  letter	  can	  
      give	  you	  a	  better	  sense	  of	  who	  he	  is	  as	  an	  investor,	  a	  mentor	  and	  educator.	  I	  
      apologize	  for	  the	  length	  of	  my	  testimony	  and	  I	  thank	  you	  in	  advance	  for	  taking	  the	  
      time	  to	  read	  it.	  	  
      	  
                   Of	  all	  of	  Martin’s	  online	  content,	  my	  favorite	  is	  his	  most	  recent	  series,	  “This	  
      Week	  in	  Investing.”	  In	  each	  video	  (there	  are	  21	  episodes),	  Martin	  goes	  over	  relevant	  
      news	  in	  pharmaceuticals	  and	  tech,	  weighs	  in	  on	  which	  stocks	  the	  believes	  are	  
      undervalued,	  over	  valued	  and	  fairly	  valued,	  and	  updates	  us	  on	  his	  investment	  
      portfolio	  positions	  and	  performance.	  For	  his	  viewers’	  convenience,	  he	  also	  uploads	  
      the	  recordings	  to	  his	  YouTube	  channel	  so	  people	  can	  watch	  them	  later	  in	  their	  own	  
      time.	  In	  case	  you	  are	  curious,	  you	  may	  access	  his	  videos	  at	  this	  link:	  
      https://www.youtube.com/channel/UC8gjB1PSXv_oAUSAQ16S0fA/playlists	  
      	  
                   To	  provide	  you	  with	  some	  background	  information,	  I	  am	  not	  the	  best	  learner.	  
      I	  am	  23	  years	  old	  and	  finished	  with	  school	  now,	  but	  when	  I	  was	  a	  student	  at	  Boston	  
      College,	  I	  often	  fell	  asleep	  during	  my	  lectures	  and	  struggled	  to	  absorb	  and	  retain	  
      information.	  	  The	  only	  class	  I	  really	  enjoyed	  and	  exceled	  at	  was	  Introduction	  to	  
      Philosophy.	  I	  believe	  the	  reason	  why	  I	  liked	  the	  class	  so	  much	  was	  because	  of	  how	  it	  
      was	  taught.	  My	  professor	  had	  a	  way	  of	  explaining	  ancient	  and	  sophisticated	  
      concepts	  in	  a	  manner	  that	  anyone	  could	  understand.	  In	  addition	  to	  making	  the	  
      course	  material	  relevant	  to	  our	  modern	  lives,	  he	  also	  tailored	  the	  class	  to	  fit	  our	  
      preferences	  and	  suggestions.	  His	  style	  of	  teaching	  reminds	  me	  precisely	  of	  Martin’s.	  
      Although	  Martin	  is	  an	  entrepreneur	  and	  not	  an	  academic,	  he	  strikes	  me	  as	  a	  natural	  
      educator	  because	  he	  puts	  his	  students’	  needs	  first.	  I	  think	  many	  of	  my	  past	  college	  
      professors	  could	  learn	  a	  thing	  or	  two	  from	  Martin	  Shkreli	  about	  how	  to	  engage	  (and	  
      entertain)	  their	  students.	  	  
      	  
                   What	  I	  love	  about	  “This	  Week	  in	  Investing”	  is	  how	  interactive	  it	  is.	  Martin	  
      streams	  the	  episodes	  live	  and	  responds	  to	  his	  audience’s	  comments	  on	  the	  spot.	  He	  
      also	  encourages	  us	  to	  e-­‐mail	  him	  any	  questions	  or	  suggestions,	  which	  he	  then	  
      addresses	  at	  the	  end	  of	  his	  videos.	  In	  doing	  this,	  he	  allows	  his	  viewers	  go	  from	  
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 171 of 203 PageID #: 15821




      passive	  watchers	  to	  active	  participants.	  One	  thing	  that	  made	  me	  laugh	  is	  that	  
      contrary	  to	  the	  adage	  “there’s	  no	  such	  thing	  as	  a	  stupid	  question,”	  Martin	  separated	  
      inquiries	  into	  “dunce”	  questions	  and	  “real”	  questions.	  I’ll	  admit:	  he	  put	  almost	  all	  my	  
      questions	  in	  the	  dunce	  category,	  but	  he	  always	  answered	  them	  adequately.	  Make	  no	  
      mistake:	  Martin	  probably	  would	  not	  be	  a	  good	  elementary	  teacher	  and	  he	  is	  no	  
      Mother	  Theresa,	  but	  his	  colorful	  personality	  makes	  learning	  about	  finance	  more	  fun	  
      than	  I	  ever	  could	  have	  imagined.	  
      	  
                    Another	  aspect	  of	  Martin’s	  investing	  videos	  that	  appeals	  to	  me	  is	  he	  is	  never	  
      afraid	  to	  admit	  his	  limitations	  and	  shortcomings.	  When	  people	  ask	  him	  questions	  
      about	  macroeconomics	  or	  industries	  he	  is	  not	  familiar	  with,	  he	  simply	  says	  he	  does	  
      not	  know	  and	  encourages	  us	  to	  search	  for	  answers	  in	  reputable	  academic	  journals.	  
      Inevitably,	  Martin	  is	  wrong	  about	  certain	  stocks,	  and	  I	  find	  it	  very	  refreshing	  that	  he	  
      confronts	  his	  mistakes	  head-­‐on	  rather	  than	  avoid	  talking	  about	  them.	  Indeed	  a	  few	  
      months	  ago,	  when	  I	  was	  considering	  quitting	  my	  job	  to	  invest	  full-­‐time,	  I	  messaged	  
      Martin	  asking	  how	  much	  money	  he	  thinks	  could	  make	  investing	  $100,000	  of	  capital	  
      (that’s	  how	  much	  money	  my	  dad	  generously	  put	  in	  my	  brokerage	  account).	  Much	  to	  
      my	  disappointment,	  he	  replied	  with	  just	  “$10,000—10%	  a	  year	  is	  very	  good.”	  His	  
      realistic	  expectations	  are	  quite	  a	  departure	  from	  the	  false	  promises	  of	  trading	  
      coaches	  who	  promise	  100%	  annual	  returns	  or	  more.	  But	  then	  again,	  Martin	  is	  not	  
      trying	  to	  sell	  us	  anything.	  His	  content	  is	  free.	  
      	  
                    In	  addition	  to	  reminding	  me	  of	  my	  favorite	  professor	  in	  college,	  Martin	  also	  
      reminds	  me	  of	  my	  dad,	  who	  leveraged	  our	  house	  to	  gamble	  on	  Internet	  stocks	  
      during	  the	  Dot.com	  bubble.	  Although	  he	  lost	  our	  entire	  life	  savings,	  he	  paid	  us	  back	  
      and	  then	  some	  by	  working	  day	  and	  night	  to	  start	  his	  own	  successful	  diagnostics	  
      company	  called	  Biohelix	  Corporation.	  I	  am	  infinitely	  grateful	  for	  my	  dad’s	  risk-­‐
      taking	  and	  hard	  work,	  and	  I’m	  sure	  Martin’s	  investors	  feel	  the	  same	  way,	  even	  if	  
      they	  won’t	  admit	  it	  publicly.	  Investing	  is	  incredibly	  challenging	  and	  many	  people	  
      lose	  money,	  my	  dad	  and	  myself	  included.	  Just	  like	  my	  dad	  has	  learned	  from	  the	  
      Dot.com	  bubble	  and	  I	  have	  learned	  from	  my	  investing	  mistakes,	  I	  know	  Martin	  has	  
      learned	  from	  his	  hedge	  fund’s	  implosion.	  He	  always	  emphasizes	  risk	  management,	  
      hedging	  and	  position	  sizing	  as	  a	  means	  of	  protecting	  one’s	  capital	  over	  being	  right,	  
      since	  he	  says	  being	  wrong	  about	  a	  stock	  is	  inevitable.	  	  
      	  
                    Since	  I	  live	  in	  Midtown,	  Manhattan,	  I	  have	  also	  had	  the	  privilege	  of	  meeting	  
      Martin	  on	  several	  occasions.	  I	  remember	  one	  time	  he	  said	  I	  was	  so	  bad	  at	  chess,	  I	  
      should	  team	  up	  with	  his	  chess	  teacher	  (a	  Grandmaster)	  as	  a	  handicap	  to	  even	  out	  
      the	  game.	  I	  find	  Martin’s	  brutal	  honesty	  hilarious	  and	  particularly	  helpful	  when	  it	  
      comes	  to	  my	  investments.	  When	  I	  first	  told	  Martin	  about	  my	  investing	  strategy,	  
      which	  involves	  buying	  beaten-­‐up	  microcaps	  with	  high	  book	  values	  in	  hopes	  of	  a	  
      rebound,	  he	  nearly	  choked	  on	  his	  salad	  and	  said	  I	  would	  lose	  all	  my	  capital	  if	  I	  
      continued	  to	  gamble	  in	  this	  high-­‐risk	  way.	  He	  was	  right.	  In	  particular,	  I	  lost	  $18,000	  
      on	  an	  investment	  in	  DRYS	  and	  $1,000	  on	  a	  stock	  called	  GALE.	  Martin	  took	  it	  upon	  
      himself	  to	  show	  me	  that	  both	  stocks	  were	  heading	  to	  zero.	  I	  did	  not	  want	  to	  face	  my	  
      losses	  (and	  I	  doubted	  whether	  or	  not	  he	  was	  correct	  at	  all),	  so	  I	  did	  not	  sell	  when	  he	  
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 172 of 203 PageID #: 15822




      told	  me	  to.	  If	  I	  had,	  I	  would	  have	  saved	  myself	  thousands	  of	  dollars.	  Regardless	  of	  his	  
      prescience	  about	  these	  companies,	  Martin	  encourages	  me	  to	  be	  more	  inquisitive	  and	  
      less	  complacent	  in	  my	  approach	  to	  investing.	  Being	  an	  introvert,	  Martin	  is	  one	  of	  the	  
      few	  people	  I	  wish	  I	  could	  spend	  more	  time	  with,	  since	  our	  encounters	  have	  always	  
      been	  highly	  rewarding	  for	  me.	  	  
      	  
                   Let	  me	  conclude	  by	  saying	  Martin	  wants	  nothing	  more	  than	  to	  provide	  value	  
      to	  others.	  This	  is	  crystal	  clear	  to	  anyone	  who	  has	  watched	  and	  benefited	  from	  his	  
      educational	  videos	  on	  YouTube.	  Shouldn’t	  prison	  be	  reserved	  for	  those	  who	  
      intentionally	  cause	  harm?	  Putting	  an	  educator	  and	  entrepreneur	  like	  Martin	  behind	  
      bars	  would	  be	  a	  huge	  disservice	  to	  countless	  students	  and	  aspiring	  investors	  like	  
      myself	  who	  have	  learned	  a	  tremendous	  amount	  from	  his	  delightfully	  nuanced	  news	  
      analysis	  and	  in-­‐depth	  lessons.	  I	  am	  usually	  good	  with	  deadlines,	  but	  I	  put	  off	  writing	  
      this	  letter	  for	  weeks	  because	  I	  have	  so	  many	  positive	  things	  to	  say	  about	  Martin	  and	  
      I	  am	  anxious	  whatever	  I	  get	  down	  on	  paper	  won’t	  do	  justice	  to	  how	  I	  feel.	  Martin	  is	  
      one	  of	  the	  most	  hardworking,	  helpful	  and	  inspiring	  people	  I	  have	  ever	  met,	  and	  I	  
      hope	  that	  you	  take	  these	  qualities	  into	  consideration	  when	  you	  decide	  his	  fate.	  
      Thank	  you	  again	  for	  your	  time	  and	  attention.	  
      	  
      	  
      	  
      	  
      	  
      	  
      	  
      	  
      	  
      Sincerely,	  
      	  
      	  
      	  
      	  
      	  
      	  
      	  
      	  
      	  
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Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 173 of 203 PageID #: 15823




                               EXHIBIT 46
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 174 of 203 PageID #: 15824




                                                                                     1012912017

                                                                             Kristan D. Ramirez


     Honorable Kiyo A. Matsumolo
     Unrted Slates Dislrict Judge
     Easlern District of New Vork
     225 Cadman Plaza East
     Brooklyn, NY 11201

                                   United Stales v. Martin Shkreli
     Your Honor,

     This letter is being written to provide you with a personal depiction of Martin Shkreli, and
     to plead for leniency in your conclusion of my friend's fate .

     I've spent countless hours in the company of Martin and can assure you he is not the
     vittain he occasionally portrays. In reality, Martin Shkreli is kind, humble, and courteous
     not only to his friends and supporters, bulto complete strangers as welt.

     Martin has made such a positive impact in my life and on my academic career that I find
     it hard to fathom his possible fate, mostly because t know he still has so much to offer
     society, whether it be scienbfically, educationally, or as a friend . For years he has
     served as an anchor by helping me escape the separation thai so many hardwonl.ing
     individuals endure, as dedication can be such a secfuding experience. Martin's comic
     relief and encouragement in limes 01 doubt ohen helped sohoo the blow of my felt
     isolation during my years of study, and I cannot Ihank him enough for that. He has
     brought so many people together over common interests (mostly educatiooal) and I beg
     you let him continue to provide this unification.

     Apart from his teaching on chemistry, pharmacology, and philosophy, I've tearned about
     the person he truly is; dedicated. He Is dedicated to helping others-aven dunng the most
     stressful time of his life-by frequently spending countless hours periorming research on
     behalf of these with Iile·threatening illnesses and altruistically teaching others, including
     myself, the subjects of his eKPertise. Martin has supplied me with a vast amount of
     inspiration, knowledge and gratitude by sharing not ooly academic materials, but just as
     importantly, sharing his experiences and hardships. Over the years, I've observed an
     abundant number of encounters Where he has given career, educational and life advice.
     Because of him and his inclination to ignite distinction in others, many have gone fourth
                                                                                                     •
     to strive for something greater, myself decidi.-.g to apply to PA school. I have him to
     thank lor my educational focus and newly found ambition. What he provides myself and
     others Is Invaluable and truly a gain to the community.

      I hope this letter is enough to arouse your contemplation on the UnOOselVed ways he
      extends his hand, prompting you to perceive the genuine aspects of Martin Shkreli.
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 175 of 203 PageID #: 15825




     Though he may be flawed , I believe his COfltributions outweigh his failings abundantly in
     comparison, and it is my candid opinion thai society is truly better off when Martin is a
     free and participating member of it. It's my hope you conclude thai he has endured
     sufficient punishment through the cumulative hardships this legal process has
     generated, and allow my study partner to rerum home.

     t appreciate your time and rumination.




            Aespecttully,


    ~~--'
            Kristan D. Aamirez, LBSW




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Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 176 of 203 PageID #: 15826




                               EXHIBIT 47
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 177 of 203 PageID #: 15827




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Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 178 of 203 PageID #: 15828




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Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 179 of 203 PageID #: 15829




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Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 180 of 203 PageID #: 15830




                               EXHIBIT 48
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 181 of 203 PageID #: 15831




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Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 182 of 203 PageID #: 15832




                               EXHIBIT 49
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 183 of 203 PageID #: 15833
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 184 of 203 PageID #: 15834
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 185 of 203 PageID #: 15835
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 186 of 203 PageID #: 15836




                               EXHIBIT 50
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 187 of 203 PageID #: 15837
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 188 of 203 PageID #: 15838
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 189 of 203 PageID #: 15839
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 190 of 203 PageID #: 15840
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 191 of 203 PageID #: 15841
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 192 of 203 PageID #: 15842
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 193 of 203 PageID #: 15843
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 194 of 203 PageID #: 15844
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 195 of 203 PageID #: 15845




                               EXHIBIT 51
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 196 of 203 PageID #: 15846




   October 30th, 2017

   Dear Honorable Judge Kiyo Matsumoto,

   Two years ago I was working for J.P. Morgan Chase, looking to learn more about investing. Not
   only was I searching for investment ideas, but I was looking for educational content about the
   markets and how they worked.

   I came across Martin’s videos about finance and chemistry on YouTube. In his spare time he
   creates free content for people, sharing his vast knowledge of finance and pharmaceuticals with
   the world. The content extremely well done and very informative.

   I spent the next few weeks binge-watching all of his past episodes. During his live episodes he
   would occasionally answer questions from the viewers. That particular week he answered one of
   mine and we quickly became friends.

   Our conversations eventually turned into a job opportunity at his new technology startup, Godel.
   I was the first real employee and have been working with him for over one year. Godel a
   technology company that’s main focus is finance products.

   If I have learned anything about Martin Shkreli in the past year, it is that he is truly a great
   person. He is kind, selfless, motivated and driven to make greatness happen in the world. At
   Godel he has offered healthcare for all of our employees, spent one on one time with each of us
   to see how we're enjoying the company and provided us with any computers or services that we
   need to see his vision through.

   Martin doesn't have the greatest media presence. His creative mind and no-filter approach to life
   has created problems for him, but this doesn't define him. In my opinion, Martin is of zero threat
   to the outside world. He is a huge asset that the world is missing out on.

   Thank you for reading this letter, and I humbly ask you to take this letter into consideration.

   Regards,




   Jackson Sadowski
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 197 of 203 PageID #: 15847




                               EXHIBIT 52
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 198 of 203 PageID #: 15848


Dear​ ​Judge​ ​Matsumoto,

My​ ​name​ ​is​ ​Julie​ ​McConville​ ​and​ ​I​ ​have​ ​known​ ​Martin​ ​since​ ​February​ ​of​ ​2016.​ ​Since​ ​then,​ ​and​ ​especially
as​ ​we​ ​became​ ​closer​ ​over​ ​this​ ​past​ ​summer,​ ​I​ ​have​ ​been​ ​proud​ ​to​ ​call​ ​myself​ ​his​ ​friend.​ ​I​ ​am​ ​no​ ​expert​ ​in
law,​ ​or​ ​finance,​ ​or​ ​pharmaceuticals.​ ​However,​ ​one​ ​thing​ ​I​ ​can​ ​express​ ​confidently​ ​is​ ​my​ ​absolute
conviction​ ​of​ ​Martin’s​ ​strong​ ​moral​ ​character.​ ​I​ ​hope​ ​my​ ​perspective​ ​will​ ​contribute​ ​to​ ​a​ ​more​ ​complete
understanding​ ​of​ ​Martin​ ​as​ ​an​ ​individual​ ​that​ ​will​ ​be​ ​of​ ​use​ ​to​ ​you​ ​in​ ​deciding​ ​a​ ​just​ ​sentence.

A​ ​hasty​ ​Google​ ​search​ ​or​ ​passing​ ​glance​ ​at​ ​newspaper​ ​headlines​ ​tends​ ​to​ ​present​ ​a​ ​one-dimensional
caricature​ ​of​ ​Martin​ ​that​ ​needs​ ​little​ ​introduction.​ ​Far​ ​too​ ​often,​ ​these​ ​distorted​ ​portrayals​ ​describe​ ​him
as​ ​brash,​ ​egotistical,​ ​and​ ​virtually​ ​unfeeling.​ ​For​ ​those​ ​who​ ​know​ ​Martin​ ​Shkreli​ ​beyond​ ​this
sensationalized​ ​exterior,​ ​nothing​ ​could​ ​be​ ​further​ ​from​ ​the​ ​truth.​ ​Yes,​ ​he​ ​has​ ​reveled​ ​in​ ​his​ ​commonly
vilified​ ​public​ ​persona​ ​to​ ​no​ ​one’s​ ​detriment​ ​but​ ​his​ ​own--​ ​an​ ​unfortunate​ ​habit​ ​he​ ​has​ ​kicked​ ​and​ ​will
not​ ​let​ ​define​ ​him.​ ​But​ ​that​ ​is​ ​all​ ​it​ ​is:​ ​an​ ​act.

The​ ​Martin​ ​I​ ​know​ ​is​ ​a​ ​thoughtful​ ​and​ ​gracious​ ​friend,​ ​one​ ​who​ ​deeply​ ​cares​ ​about​ ​the​ ​well-being​ ​and
intentions​ ​of​ ​others.​ ​In​ ​short,​ ​he​ ​is​ ​the​ ​kind​ ​of​ ​person​ ​I​ ​consider​ ​myself​ ​privileged​ ​to​ ​know.​ ​Whether​ ​it
be​ ​my​ ​role​ ​as​ ​both​ ​a​ ​beneficiary​ ​and​ ​witness​ ​of​ ​the​ ​insightful​ ​personal​ ​advice​ ​Martin​ ​is​ ​in​ ​no​ ​way​ ​obliged
to​ ​give​ ​myself​ ​and​ ​others,​ ​or​ ​his​ ​quiet,​ ​consistent​ ​support​ ​for​ ​mutual​ ​friends​ ​facing​ ​daunting​ ​medical
and​ ​financial​ ​burdens,​ ​I​ ​have​ ​not​ ​once​ ​questioned​ ​my​ ​faith​ ​in​ ​Martin’s​ ​sincere​ ​and​ ​earnest​ ​nature.

Of​ ​course,​ ​the​ ​widespread​ ​public​ ​misunderstanding​ ​of​ ​Martin​ ​is​ ​certainly​ ​no​ ​excuse​ ​for​ ​any​ ​of​ ​the
ill-thought-out​ ​social​ ​media​ ​posts​ ​or​ ​other​ ​detrimental​ ​past​ ​behaviors​ ​which​ ​have​ ​caused​ ​so​ ​much
unnecessary​ ​strife.​ ​My​ ​intention​ ​in​ ​this​ ​letter​ ​is​ ​not​ ​to​ ​trivialize​ ​any​ ​of​ ​those​ ​actions.​ ​He​ ​has​ ​expressed
deep​ ​regret​ ​for​ ​his​ ​lapses​ ​in​ ​judgement,​ ​but​ ​far​ ​more​ ​importantly,​ ​I​ ​am​ ​assured​ ​his​ ​conduct​ ​will​ ​not​ ​be
an​ ​issue​ ​in​ ​the​ ​future.

Martin​ ​is​ ​a​ ​man​ ​of​ ​seemingly​ ​endless​ ​ambition​ ​whose​ ​dedication​ ​to​ ​his​ ​work​ ​is​ ​rivaled​ ​only​ ​by​ ​his​ ​loyalty
to​ ​family​ ​and​ ​friends.​ ​It​ ​is​ ​true,​ ​as​ ​the​ ​media​ ​often​ ​claims,​ ​that​ ​he​ ​aims​ ​to​ ​establish​ ​a​ ​reputation​ ​for
himself​ ​and​ ​his​ ​accomplishments​ ​that​ ​will​ ​not​ ​easily​ ​be​ ​forgotten.​ ​Yet​ ​it​ ​is​ ​not​ ​among​ ​the​ ​ranks​ ​of​ ​Wall
Street​ ​crooks​ ​where​ ​he​ ​belongs--​ ​he​ ​strives​ ​to​ ​join​ ​those​ ​of​ ​Alan​ ​Turing​ ​and​ ​Percy​ ​Julian.​ ​Knowing
Martin,​ ​I​ ​have​ ​no​ ​doubt​ ​he​ ​will.

Thank​ ​you​ ​for​ ​considering​ ​this​ ​letter,




Julie​ ​McConville
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 199 of 203 PageID #: 15849




                               EXHIBIT 53
       Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 200 of 203 PageID #: 15850


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Dear Judge KIYO .-\.. :\Iahumoto.

 TUt! illt~lltlon ill \\Tltillg: thi~ letr~r i5 to expr~~$ 5Upport f01 .\Iarrlll Shkreli. :\1t. Shkreh and I ha\'~ been fllends for abollt :; year~ . His kUld. caring
nature ha:;, been a pllamount bles:;ing: inm)" lif~ . Being: a 5111gle mom \\-ilh linuted re,onrces. :\ III tm regularly keep~ III contact to make "lift! my
family I'> okay. I ll11 continually IUspu'ed seelUg hlln maintain a focus on medical research and keep an upbeat. 5table OUTlook eY~n dunng
IUcarceratioll.

    " -lth much pohtically-motlyated hearsay related to lu'> case. to g~t to the true reallty one 5uggeSTlon I~ to talk to :\IaltlU about rare dlse,be> to
g:~t a g:lImpse of his Ya5t wealth of k.t10\Yledge and the Importance that ill" re"earch doe" III this tield. There are a multitude of !llnes~e~ 1'01
\\'luch .\Iar1ill has a hand in deyeloplllg ne\y treatments. Although the ne\ys might haye pomayed The oppo51te ne,,': 50m~one who ouly care'>
about Ulon~y_ thele I~ e\"ldenc~ to the cOlltrmy sho\Ylllg '\lmtin to haw a deep pa;,.,ion for llealillg. through study done "'hile employing: and
'\-Olklllg alongside Othel illllOYatiYe researchers and ,>cientists. It I'> a matter oflife and death to folks with these dlseas~s (many are babH~s bom
\\;th genetlc dlsord~ls that kill \\'ithin the tirst year' of life ) to see .\Ill1in Shkreh tie~ to cOlltlllue ills "'olk in tillsillstoncally neglected medIcal
tield.




K~~
       lamell Payne
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 201 of 203 PageID #: 15851




                               EXHIBIT 54
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 202 of 203 PageID #: 15852




    December 08,2017

    Honorable Kiyo A. Matsumoto
    United States District Judge
    Eastern District of New York
    United States Courthouse
    225 Cadman Plaza East
    Brooklyn, New York 11201

                         Re: United States v. Martin Shkreli, 15 Cr. 637 (KAM)

    Dear Judge Matsumoto,

            The first time that I learned of Martin Shkreli was in the summer of2013; I had been
    reading the Forbes 30 Under 30 in Finance list and stumbled upon a young biotech entrepreneur
    who happened to have worked at the same investment firm where I was interning at the time.
    Martin's background fascinated me; much like me, he had come from humble means and ended
    up in the world of finance. Growing up, my dream was to be the first in my family to obtain a
    college degree, and hearing Martin's story was inspiring. I grew up in a small town in western
    Colorado, attended college at Oberlin on a classical trombone scholarship, and through an
    alumni connection found myself interning at the same investment firm where Martin had worked
    years before. Later on, I reached out to Martin over Linkedln and have since been in touch with
    him regularly.

            In getting to know Martin, I've witnessed firsthand his constant drive to learn and create.
    I've spent quite a bit of time getting to know his latest startup, a software company called G5del
    Systems, and Martin has frequently requested input given that I now work as an analyst
    specializing in the software industry. The amount of passion that he's ignited from his employees
    is remarkable, and I believe that he truly cares about all of them and is trying to build another
    successful company that will support their livelihoods while providing a freemium software
    product that makes the world of investing more accessible to the broader population. I've seen
    firsthand the amount of work that he's put into both building the product itself and mentoring his
    employees, and I sometimes wonder where he gets the energy to do it. Beyond his
    entrepreneurial pursuits, Martin's passion for democratizing the world of investing is also
    evidenced in his online content, including a regular video series called "This Week in Investing"
    where he dives into a variety of topics related to the investment world and fields questions from
    those who tune in. He's also created educational videos related to science, which I am admittedly
    less familiar with, and has also attempted to spread his knowledge by giving lectures at a number
    of universities. While I can't speak to Martin's pursuits within the pharmaceutical world, the way
    that he talks about the patients with rare diseases that benefit from his drugs suggests that he
    cares very deeply about their livelihoods.
Case 1:15-cr-00637-KAM Document 538-1 Filed 02/27/18 Page 203 of 203 PageID #: 15853




            Finally. Martin has touched my life personally, and has been incredibly valuable in terms
    of teaching me about the investment industry. More than that, I've come to know Martin as a
    friend. Your Honor, it is with this in mind that I am writing this letter today, and am pleading for
    leniency in his sentencing. I believe that despite his many personality quirks and (at times) odd
    sense of humor, Martin is a good, caring, and hard-working person who truly cares about his
    employees, the patients that his drugs benefit, and the broader public at large, which is evidenced
    by his emphasis on democratizing education. I appreciate your consideration and thank you for
    taking the time to read this letter.




    Sincerely,




    Taylor Reiners
